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                                              UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.: 16-20387-CIV-ALTONAGA
                                                      (13-20334-CR-ALTONAGA)
                                              MAGISTRATE JUDGE P. A. WHITE

  JOSEPH PETER CLARKE,

        Movant,

  v.

  UNITED STATES OF AMERICA,

        Respondent.
                                  /


                   REPORT OF MAGISTRATE JUDGE RE §2255
            CHALLENGING CONVICTIONS & SENTENCES POST-JOHNSON


                                  I. Introduction


        Initially, the movant, Joseph Peter Clarke, while proceeding
  pro    se,      filed    this       §2255   proceeding      challenging   the
  constitutionality of his convictions and sentences for conspiracy
  to commit Hobbs Act Robbery, conspiracy to possess with intent to
  distribute five or more kilograms of cocaine,            felon in possession
  of a firearm in and affecting interstate commerce, and using and
  carrying a firearm and possession of the firearm in furtherance of
  a crime of violence, entered following a jury verdict in Case No.
  13-20334-Cr-Altonaga.


        This   Cause      has   been    referred   to   the   Undersigned   for
  consideration and report, pursuant to 28 U.S.C. §636(b)(1)(B), ©;
  S.D.Fla. Local Rule 1(f) governing Magistrate Judges; S.D. Fla.
  Admin. Order 2003-19; and, Rules 8 and 10 Governing §2255 Cases in
  the United States District Courts.
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        After     filing   his   initial       §2255   motion   with   supporting
  memorandum (Cv-DE#s1,4) pro se, the movant filed an amendment
  thereto (Cv-DE#11), and requested the appointment of counsel, which
  was granted. Thereafter, an additional memorandum (Cv-DE#20) and
  supplemental memoranda (Cv-DE#s21,28) were filed by the movant, the
  government has filed multiples responses (Cv-DE#s7,14,22) to this
  court's order to shows cause and briefing schedule; and, the movant
  has filed replies thereto (Cv-DE#s10,23).1 In addition to the
  foregoing,      before   the   Court     for    review   is   the    Presentence
  Investigation Report (?PSI”), Statement of Reasons (?SOR”), and all
  pertinent portions of the underlying criminal file under attack
  here.2


                                    II. Claims


        As can best be discerned, given the multiple filings by the
  movant herein, it appears that the movant is raising the following
  grounds for relief:


        1.      He was denied effective assistance of counsel,
                where his lawyer failed to object to the fact that
                the movant did not qualify for an enhanced sentence


        1
         To the extent the movant has raised new facts and provided new evidence
  to the undersigned, for the first time, in his traverse, something which is
  precluded under federal case law, it has been reviewed and considered herein.
  However, if the movant again attempts to raise new arguments or grounds for
  relief or otherwise provides additional evidence ?for the first time in an
  objections to this Report, the district court may [and should] exercise its
  discretion and decline to consider the argument" or new facts. Daniel v. Chase
  Bank USA, N.A., 650 F.Supp.2d 1275, 1278 (N.D. Ga. 2009)(citing Williams v.
  McNeil, 557 F.3d 1287 (11th Cir. 2009); see also, Starks v. United States, 2010
  WL 4192875 at *3 (S.D. Fla. 2010); United States v. Cadieux, 324 F.Supp.2d 168
  (D.Me. 2004). ¡Parties must take before the magistrate, ‘not only their best shot
  but all of the shots.’¢ Borden v. Sec’y of Health & Human Servs., 836 F.2d 4, 6
  (1st Cir. 1987)(quoting Singh v. Superintending Sch. Comm., 593 F.Supp. 1315,
  1318 (D.Me. 1984)).
        2
         The undersigned takes judicial notice of its own records as contained on
  CM/ECF in those proceedings. See Fed.R.Evid. 201.

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              under 18 U.S.C. §3559© because he did not have the
              qualifying predicate offense(s) to support the
              enhancement (Cv-DE#1:4; Cv-DE#4).

        2.    He was denied effective assistance of counsel,
              where his lawyer failed to request a special jury
              instruction   and   corresponding    verdict   form
              requiring the jury to determine the amount of drugs
              the movant actually possessed or distributed. (Cv-
              DE#1:5; Cv-DE#4:6).

        3.    Movant's §924(c) conviction and resultant sentence
              is no longer lawful in light of the Supreme Court's
              decision in Johnson v. United States,3 576 U.S.
              ____, 135 S.Ct. 2551, 192 L.Ed.2d 569 (2015). (Cv-
              DE#11:2; Cv-DE#20:2).

        4.    After the Johnson decision, movant's sentence
              enhancement, pursuant to 18 U.S.C. §3559©, is no
              longer   lawful,   because   his   conviction   for
              conspiracy to commit Hobbs Act robbery does not
              qualify as a serious violent felony and thus cannot
              support the enhancement. (Cv-DE#11:7; (Cv-DE#20:2;
              Cv-DE#21).

        5.    Movant no longer has the qualifying predicate
              offenses to support an enhanced sentence as an
              armed career criminal post-Johnson. (Cv-DE#20:2).


                          III.   Procedural History


        By way of background, the movant's convictions arose out of an
  engineered reverse sting operation, during which the movant and his
  coconspirator, Bobby Jenkins, joined a fake conspiracy to rob a
  drug dealers' house. United States v. Clarke, 649 Fed.Appx. 837,
  840 (11 Cir. 2015). On May 10, 2013, an Indictment was returned


        3
          As everyone is well-aware, on June 26, 2015, the United States Supreme
  Court, in Johnson, held that the Armed Career Criminal Act’s (ACCA) residual
  clause was unconstitutionally vague, and that imposing an enhanced sentence
  pursuant to that clause thus violates the Constitution’s guarantee of due
  process. In Welch v. United States, 578 U.S. __, 136 S.Ct. 1257, 194 L.Ed.2d
  387 (2016), the Supreme Court held that Johnson announced a substantive rule
  that applied retroactively on collateral review.

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  charging the movant with conspiracy to commit Hobbs Act robbery, in
  violation of 18 U.S.C. §1951(a)4 (Count 1); conspiracy to possess
  with intent to distribute five or more kilograms of cocaine, in
  violation of 21 U.S.C. §841(b)(1)(A)(ii) and §846 (Count 2); felon
  in possession of a firearm, in violation of 18 U.S.C. §922(g)(1)
  and §924(e)(1) (Count 4); and, using and carrying a firearm during
  and in relation to a crime of violence and possession of a firearm
  in furtherance of a crime of violence, ?an offense for which the
  defendant may be prosecuted in a court of the United States,
  specifically, a violation of Title 18, United States Code, Section
  1951(a), as set forth in Count 1 of this Indictment, in violation
  of 18, United States Code, Sections 924(c)(1)(A) and 2.” (Cr-
  DE#12:1-3). As will be recalled, Count 1 charged movant with
  conspiracy to commit Hobbs Act robbery, not a substantive Hobbs Act
  robbery violation. (Id.).


        Prior      to   trial,    the    government      filed   a    prior     felony
  information       notice,    triggering       the   application    of   the   ?three
  strikes” statute, 18 U.S.C. §3559©. (Cr-DE#28). This statute, in


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            Title 18 U.S.C. §1951(a) provides, in relevant part:

                 Whoever in any way or degree obstructs, delays, or
                 affects commerce or the movement of any article or
                 commodity in commerce, by robbery or extortion or
                 attempts or conspires so to do, or commits or threatens
                 physical violence to any person or property in
                 furtherance of a plan or purpose to do anything in
                 violation of this section....

  (emphasis added). The Hobbs Act further defines ?robbery” as:

                 the unlawful taking or obtaining of personal property
                 from the person or in the presence of another, against
                 his will, by means of actual or threatened force, or
                 violence, or fear of injury, immediate or future, to his
                 person or property, or property in his custody or
                 possession, or the person or property of a relative or
                 member of his family or of anyone in his company at the
                 time of the taking or obtaining.

  18 U.S.C. §1951(b)(1) (emphasis added).

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  essence, provides that a defendant convicted of three ?serious
  violent felonies,” a defined term, faces a mandatory term of life
  imprisonment.       At   the    time,    because     of   the   movant's    prior
  convictions for armed robbery, burglary of a structure, and fleeing
  and eluding law enforcement, the government believed that, if the
  movant were convicted of the offenses charged in Counts 1 or 5 of
  the Indictment, which they claimed were also ?serious violent
  felonies,” the movant would receive a mandatory life term of
  imprisonment. (Id.). After engaging in pretrial motion practice,
  the movant proceeded to trial, where he was convicted as charged,
  following a jury verdict. (Cr-DE#80).


         A PSI was prepared, which reveals that, pursuant to U.S.S.G.
  §3D1.2©, Counts 1, 2, and 4 were grouped together because one of
  the    counts   embodies       conduct   that   is   treated    as   a   specific
  characteristic to the guideline applicable to another of the
  counts. (PSI ¶18). Also, Count 5 was excluded from grouping because
  it    carries   a   minimum     mandatory    term    of   imprisonment     to   run
  consecutive to any other term of imprisonment imposed. (PSI ¶19).
  Initially, the offense level was set at 32, based on the fact that
  the offense involved at least 5 kilograms, but less than 15
  kilograms of cocaine. (PSI ¶20). An additional 2-level enhancement
  was added to the offense level because the movant used violence,
  made a credible threat to use violence, or directed the use of
  violence, resulting in an adjusted offense level 34. (PSI ¶21).


         However, the PSI reveals that the movant qualified for an
  enhanced sentence as a career offender because he was at least 18
  years old at the time of the offenses of conviction, the offenses
  are either a crime of violence or a controlled substance offense,
  and movant had at least two prior felony convictions for either a
  crime of violence or controlled substance offense, relying on case


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  nos. F95-21499 and F12-6583. (PSI ¶26). Next, because the movant
  §924© offense of conviction carries a mandatory consecutive term of
  imprisonment, the guideline range under U.S.S.G. §4B1.1(c)(3) is
  lower and thus not applicable. (PSI ¶26). The PSI further notes
  that the movant also qualified for an enhanced sentence as an armed
  career criminal. (PSI ¶26). Pursuant to U.S.S.G. §4B1.4(b)(2), the
  greatest offense level for an armed career criminal is produced by
  applying the offense level from U.S.S.G. §4B1.1(career offender).
  (PSI ¶26). Therefore, the base offense level was set at a level 37,
  pursuant to U.S.S.G. §4B1.1(a),(b)(1). (PSI ¶26). No adjustments
  for acceptance of responsibility were given, and the total adjusted
  offense level remained a level 37. (PSI ¶¶27-28).


        Next, the PSI noted that the movant had a total of 16 criminal
  history points, resulting in a criminal history category VI. (PSI
  ¶40). Since the criminal history category as a career offender and
  an armed career criminal is always a category VI, the movant's
  criminal history category remained unchanged. (PSI ¶40). Based on
  a total offense level 37 and a criminal history category VI, the
  movant faced an advisory guideline range of 360 months to a term of
  life imprisonment as to Counts 1, 2, and 4. (PSI ¶73). Regarding
  Count 5, the movant faced a term of life imprisonment, to run
  consecutive to any other term of imprisonment imposed by the court.
  (Id.). Statutorily, as to Count 1, movant faced a mandatory term of
  life imprisonment, for violation of 18 U.S.C. §§1951(a) and 3559©.
  (PSI ¶72). As to Count 2, movant faced a minimum of 10 years and up
  to a life time term of imprisonment for violation of 21 U.S.C.
  §841(b)(1)(A). (Id.). He also faced a mandatory minimum of 15 years
  and up to a term of life imprisonment as to Count 4, for violation
  of 18 U.S.C. §922(g)(1) and 924(e)(3). (Id.). Finally, as to Count
  5, movant faced a mandatory term of life imprisonment, which shall
  run consecutive to any other term of imprisonment, for violation of

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  18 U.S.C. §924(c)(1)(A) and §3559(e). (PSI ¶72).


        Movant appeared for sentencing on December 18, 2013. (Cr-
  DE#146). At that time, movant confirmed he had the opportunity to
  review the PSI with defense counsel prior to sentencing. (Id.:3).
  After the government argued that a lifetime term of imprisonment
  was warranted in the case, defense counsel advised the court that
  early on, during plea discussions, they became aware movant was
  facing a potential life term of imprisonment under the ACCA, and
  discussed the issue at length with the movant. (Id.:4). Counsel
  reminded the court that the Eleventh Circuit was only one of a few
  appellate courts which has held that fleeing a police officer was
  a qualifying predicate for purposes of the ACCA enhancement. (Id.).
  Defense counsel further stated that objections had been filed
  regarding the two predicate offenses, burglary of a business and
  fleeing a law enforcement officer, recognizing that while the
  Eleventh Circuit had also previously found these to be qualifying
  predicate offenses, the state of the law was in flux; and, as such,
  the movant wanted to preserve the issues. (Id.:5). The court
  acknowledged that it was, in fact, treating it as ?preserved,” and
  would follow binding precedent. (Id.:5). The movant then provided
  a statement in support of allocution. (Id.:6). Thereafter, the
  court found, in pertinent part, as follows:


                   Your attorney has certainly preserved for
              you your objections and by his remarks, you
              are aware that he has some hope that perhaps
              the Eleventh Circuit will render a decision in
              the future that would change the outcome here.

                   There is no such decision now and I am
              bound to follow the law of the Eleventh
              Circuit. And under that law, the sentence that
              I must impose is the sentence that Probation
              indicated in the presentence report and the
              one that you have been aware of for some time

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              now since discussing these issues with your
              excellent defense attorney, Mr. Kahn.

                   Your Offense Level is 37, Criminal
              History   Category   6.   Based   upon   those
              classifications which you do hold and which
              Mr. Vazquez, the prosecutor, articulated, I am
              required by law to impose this sentence. And
              therefore it is the judgment of this Court
              that you are committed to the Bureau of
              Prisons to be imprisoned for life. The term
              consists of life imprisonment as to Counts 1,
              2 and 4 to be served concurrently with each
              other. And life imprisonment as to Count 5 to
              run consecutively to the terms imposed as to
              Counts 1, 2, and 4. I find that you are not
              able to pay a fine, therefore no fine is
              imposed.

                   You have a significant criminal history,
              Mr. Clarke, but let me just say, because I
              have not addressed at all the factors in 18
              U.S.C., 3553, that based upon a careful review
              of your criminal background and the facts of
              this case and what I know of you, it is my
              belief that this sentence is greater than
              necessary to achieve the objectives of
              sentencing. I would not be honest if I said it
              otherwise. And that will be in the record, as
              well. But I am required by law to give you
              this sentence and it is the one that I
              imposed, notwithstanding that if I had the
              discretion I would not be doing this....


  (Cr-DE#146:7-8); (emphasis added).


         Movant prosecuted a direct appeal, raising multiple claims,
  including that: (1) the court erred by admitting evidence of his
  2006   burglary    conviction;    and,   (2)   the   court   erred   in   its
  instructions to the jury because it constructively amended the
  Indictment on Count 5. United States v. Clarke, 860 Fed.Appx. 837
  (11 Cir. 2016); (Cr-DE#156). On May 11, 2016, the Eleventh Circuit


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  affirmed the movant's judgment in a written, but unpublished
  decision. United States v. Clarke, 860 Fed.Appx. 837 (11 Cir.
  2016); (Cr-DE#156). No certiorari review petition appears to have
  been filed. Thus, the movant's judgment became final on Tuesday,
  August 9, 2016, when the 90-day period for seeking certiorari
  review with the U.S. Supreme Court expires following conclusion on
  direct appeal.5


        The movant had one year from the time his judgment became
  final, or no later than Wednesday, August 9, 2017,6 within which to
  timely file this federal habeas petition. See Griffith v. Kentucky,
  479 U.S. 314, 321, n.6 (1986); see also, See Downs v. McNeil, 520
  F.3d 1311, 1318 (11th Cir. 2008)(citing            Ferreira v. Sec’y, Dep’t
  of Corr’s, 494 F.3d 1286, 1289 n.1 (11th Cir. 2007)(this Court has
  suggested    that    the   limitations     period    should    be   calculated
  according to the “anniversary method,” under which the limitations
  period expires on the anniversary of the date it began to run);
  accord United States v. Hurst, 322 F.3d 1256, 1260-61 (10th Cir.
  2003); United States v. Marcello, 212 F.3d 1005, 1008-09 (7th Cir.
  2000)). Applying the anniversary method to this case means movant's

        5
         The Supreme Court has stated that a conviction is final when a judgment
  of conviction has been rendered, the availability of appeal exhausted, and the
  time for a petition for certiorari elapsed or a petition for certiorari finally
  denied. Griffith v. Kentucky, 479 U.S. 314, 321, n.6 (1986); accord, United
  States v. Kaufman, 282 F.3d 1336 (11th Cir. 2002); Wainwright v. Sec’y Dep’t of
  Corr’s, 537 F.3d 1282, 1283 (11th Cir. 2007)(conviction final under AEDPA the day
  U.S. Supreme Court denies certiorari, and thus limitations period begins running
  the next day). Once a judgment is entered by a United States court of appeals,
  a petition for writ of certiorari must be filed within 90 days of the date of
  entry. The 90 day time period runs from the date of entry of the judgment rather
  than the issuance of a mandate. Sup.Ct.R. 13; see also, Close v. United States,
  336 F.3d 1283 (11th Cir. 2003).
        6
          See Downs v. McNeil, 520 F.3d 1311, 1318 (11th Cir. 2008)(citing Ferreira
  v. Sec'y, Dep't of Corr’s, 494 F.3d 1286, 1289 n.1 (11th Cir. 2007)(this Court
  has suggested that the limitations period should be calculated according to the
  “anniversary method,” under which the limitations period expires on the
  anniversary of the date it began to run); accord United States v. Hurst, 322 F.3d
  1256, 1260-61 (10th Cir. 2003); United States v. Marcello, 212 F.3d 1005, 1008-09
  (7th Cir. 2000)); see also, 28 U.S.C. §2255.

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   collateral attack to the convictions and sentences expired on
   August 9, 2017.


         Well before his conviction even became final, the movant came
   to this court, filing his initial motion to vacate with supporting
   memorandum on January 27, 2016, after he signed and handed his
   motion to prison authorities for mailing, in accordance with the
   mailbox rule, as evidenced by the prison facility stamp, raising
   claims 1 and 2, as listed above.7 (See Cv-DE#s1,4). Also within the
   one-year federal limitations period, the movant next filed an
   amendment (Cv-DE#11) on May 26, 2016, in accordance with the
   mailbox rule, as evidenced by the prison facility stamp. (Cv-
   DE#11:8).


         Because the Supreme Court's decision in Johnson, supra.,
   issued on June 26, 2015, was made retroactively applicable to cases
   on first collateral review by Welch, supra on April 18, 2016, an
   order     was   entered   appointing   counsel    and   setting    a   briefing
   schedule to address the lawfulness of movant's convictions and
   sentences post-Johnson. (Cv-DE#17). In compliance with the court's
   order, defense counsel filed a memorandum of law and supplemental
   memorandum      addressing   the    Johnson    issue.    (Cv-DE#20,21).      The
   government also filed responses to this court's show cause order
   and the order setting briefing schedule. (Cv-DE#s7,14,22).



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          ¡Under the prison mailbox rule, a pro se prisoner's court filing is deemed
   filed on the date it is delivered to prison authorities for mailing.¢ Williams
   v. McNeil, 557 F.3d 1287, 1290 n.2 (11th Cir. 2009); see Fed.R.App. 4(c)(1)(¡If
   an inmate confined in an institution files a notice of appeal in either a civil
   or a criminal case, the notice is timely if it is deposited in the institution’s
   internal mail system on or before the last day for filing.¢). Unless there is
   evidence to the contrary, like prison logs or other records, a prisoner’s motion
   is deemed delivered to prison authorities on the day he signed it. See Washington
   v. United States, 243 F.3d 1299, 1301 (11th Cir. 2001); Adams v. United States,
   173 F.3d 1339 (11th Cir. 1999) (prisoner's pleading is deemed filed when executed
   and delivered to prison authorities for mailing).

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                         IV. Facts Adduced at Trial


         Briefly, a succinct, detailed recitation of the facts, as set
   forth by the Eleventh Circuit in its published opinion, reveals
   that:


               ...The detective who engineered the reverse
               sting which led to the indictment was Kenneth
               Veloz, who had experience with these sorts of
               “proactive investigations” of “individuals
               that are interested in committing [armed]
               robbery.” In this type of case, Detective
               Veloz typically proposed “an extremely violent
               scenario” to give the targets the “chance ...
               to walk away if they [were] not interested in
               committing [a] robbery.” Here, Detective Veloz
               first became interested in Jenkins when a
               confidential informant (CI) told him that
               Jenkins “may be interested in committing a
               robbery.”

               After a series of phone calls in which
               Detective Veloz thought Jenkins seemed to be
               interested in participating in the robbery,
               Detective Veloz set up three in-person
               meetings in which he posed as a drug
               trafficker. In the first, Detective Veloz
               represented that he routinely picked up and
               delivered kilogram quantities of cocaine for a
               group of drug traffickers, and that they had
               failed to adequately pay him for work he had
               done. He told Jenkins he needed someone to
               help him rob the traffickers. He said that
               they were violent drug dealers who would kill
               Detective Veloz and his family if they found
               out that he stole the cocaine. Jenkins
               responded that he and his “people” could
               handle the job, saying they were “certified.”
               He also asked questions about the job, like
               what the dealers were “capable of, what area
               they [worked] in, ... what people [ ] they
               know,” and whether they “hav[e] guns in
               there.” Jenkins also said that he had “AR–15s
               that come from the army,” and that he would
               wear a bulletproof vest.

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               Jenkins brought Clarke—an acquaintance—to the
               second meeting, and he, Clarke, Detective
               Veloz, and the CI continued to discuss the
               plan to rob the drug traffickers. Detective
               Veloz emphasized that these were dangerous
               people who “don't play” and stated that,
               personally, when it came to guns, “I'm running
               the other way.” Still Jenkins persisted in
               asking questions, including the location of
               the house, who the “head” of the traffickers
               was, and whether there would be cash in the
               house along with the drugs. Clarke noted that
               if there were only two drug dealers in the
               house when they robbed them, “it shouldn't
               really be [an] issue as far as getting in and
               getting out.” Both Jenkins and Clarke asked
               Detective Veloz if he wanted the traffickers
               dead, and Veloz responded “you could do what
               you got to do.” Clarke suggested that he would
               need to kill them so that no one would know
               Detective Veloz was associated with them. And
               Clarke said he would need to “hit” Detective
               Veloz to make it look like Detective Veloz was
               not involved. In a follow-up phone call
               between the CI and Jenkins, Jenkins told the
               CI that he wanted the robbery “to get bloody
               regardless” because then the traffickers
               “can't talk.”

               At the third and final meeting, the same group
               discussed details of the robbery. Clarke
               repeatedly insisted that they be told the
               location in advance so they could plan their
               entry. Detective Veloz also told them there
               would be ten to fifteen kilograms of cocaine,
               and he and Clarke discussed splitting the
               drugs “fifty/fifty.” Clarke noted that when he
               “move[s] [his] trigger, [he is] on precision,”
               and that Detective Veloz should “get out of
               the way” if shooting begins. In a phone call
               the day before the robbery, Jenkins told the
               CI that everything was “good,” but expressed
               concern that Detective Veloz might be involved
               with the police. The CI assured him that
               “everything [was] straight.”

               On the day of the robbery, the government
               provided a car to the CI, who picked up

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               Jenkins and Clarke and drove them to the
               robbery location. When they arrived, a team of
               ATF Detectives converged on the car. Jenkins
               had a .40 caliber Sig Sauer handgun and was
               wearing gloves. Clarke dropped his loaded
               semiautomatic assault rifle in the back seat.

   See United States v. Clarke, 649 Fed. Appx. 837, 840–41 (11th Cir.
   2016); (Cr-DE#156).


                                   V. Threshold Issues


                                        A. Timeliness


         Given the foregoing procedural history, it appears that the
   challenges to the movant's convictions and sentences were timely
   instituted within a year from the time his conviction became final
   or within a year of the Supreme Court's Johnson decision. Further,
   the issue need not be explored further herein as the government has
   waived the state of limitations defense (See Cv-DE#s7,14,22) from
   consideration by this court under United States v. Frady, 456 U.S.
   152, 162, 167-68, 102 S.Ct. 1584, 1594, 1599-1600, 7 L.Ed.2d 816
   (1982). See Wood v. Milyard, 566 U.S. 463, 470 n.5, 472, 132 S.Ct.
   1826, 1833, 1835, 182 L.Ed.2d 733 (2012). In Wood, the Supreme
   Court   held    that      a   district      court     abuses    its    discretion   by
   considering     a     statute     of    limitation      defense       that   has   been
   affirmatively       waived,     as     opposed   to    merely    forfeited.    (Id.).
   See also In Re Jackson, 826 F.3d 1343, 1347 (11 Cir. 2016)(citing
   Day v. McDonough, 547 U.S. 198, 210, 126 S.Ct. 1675, 1684, 164
   L.Ed.2d 376 (2006) and Wood v. Milyard, 546 U.S. 463, 132 S.Ct.
   1826, 182 L.Ed.2d 733 (2012)); Rogers v. United States, 569 Fed.
   Appx.    819,       821   (11th      Cir.     2014)(Determining         government's
   miscalculation was not related to the timeliness of the motion, but
   rather an intelligent waiver of the statute of limitations defense,

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   citing Day v. McDonough, 547 U.S. at 202 and Gay v. United States,
   816 F.2d 614, 616 n. 1 (11th Cir.1987)(“[T]he principles developed
   in habeas cases also apply to §2255 motions.”)).


                                 B. Procedural Bar


         The government, however, argues incorrectly that any Johnson-
   based claims are procedurally defaulted from review here because
   they were not raised at sentencing or on direct appeal. (Cv-
   DE#7:22:2-4). The government does not dispute, however, and the
   record confirms that the movant did, in fact, lodge objections to
   the movant's classification as an armed career criminal, thereby
   preserving the issue, even though counsel recognized at the time
   that the Eleventh Circuit had upheld the enhancement based on prior
   convictions for fleeing a law enforcement officer and burglary of
   a structure.8 (Cr-DE#103). The issue, however, was not raised on
   direct appeal, but movant asserts here as cause that counsel was
   ineffective for failing to do so; and, further argues ?actual
   innocence” to excuse the bar. (Cv-DE#22:2).


         A defendant, in federal custody, may utilize 28 U.S.C. §2255
   to vacate, set aside, or correct a sentence imposed under the ACCA.
   Spencer v. United States, 773 F.3d 1132, 1143 (11 Cir. 2014)(en
   banc)(?We can collaterally review a misapplication of the [ACCA]
   because, unlike an advisory guideline error, that misapplication
   results in a sentence that exceeds the statutory maximum.”).
   Although an ACCA claim is cognizable in a §2255 motion, as a



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           See United States v. Ortiz, 536 Fed.Appx. 893 (11 Cir. 2013)(finding using
   vehicle to flee or elude law enforcement is categorically a crime of violence for
   purposes of the ACCA, citing United States v. Petite, 703 F.3d 1290, 1292 (11
   Cir. 2013); United States v. Bush, 437 Fed.Appx. 820 (11 Cir. 2011)(finding
   burglary of an unoccupied structure is a crime of violence for purposes of the
   ACCA); United States v. Wheeler, 434 Fed.Appx. 831 (11 Cir. 2011)(same).

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   general matter, a criminal defendant must assert an available
   challenge to a conviction or sentence on direct appeal or be barred
   from raising the challenge in a section 2255 proceeding. Massaro v.
   United States, 538 U.S. 500, 504 (2003); see also Greene v. United
   States, 880 F.2d 1299, 1305 (11th Cir. 1989). In other words, under
   the procedural default rule, all claims, including constitutional
   ones, not raised on direct appeal, ?may not be raised on collateral
   review unless the petitioner shows cause and prejudice.” Massaro v.
   United States, 538 U.S. at 504; Murray v. Carrier, 477 U.S. 478,
   485-86, 106 S. Ct. 2639, 91 L. Ed. 2d 397 (1986) (citations
   omitted); Spencer v. Sec’y, Dep’t of Corr., 609 F.3d 1170, 1179-80
   (11th Cir. 2010); Lynn v. United States, 365 F.3d 1225, 1232-34
   (11th Cir. 2004).


         There are, however, two exceptions to the procedural default
   rule, (1) cause and prejudice, and (2) a ?miscarriage of justice,
   or actual innocence.” See McKay v. United States, 657 F.3d 1990,
   1996 (11 Cir. 2011). To meet the requirements for the first
   exception, the movant must demonstrate ?cause for not raising the
   claim of error on direct appeal and actual prejudice form the
   alleged error.” McKay v. United States, 657 F.3d at 1996 (emphasis
   in original). Under the second, actual innocence-miscarriage of
   justice exception, the ?movant's procedural default is excused if
   he can show that he is actually innocent either of the crime of
   conviction or, in the capital sentencing context, of the sentence
   itself.” Id. ?This exception is exceedingly narrow in scope as it
   concerns a petitioner's 'actual' innocence rather than his 'legal'
   innocence.” Johnson v. Alabama, 256 F.3d 1156, 1171 (11 Cir. 2001).
   Regarding the cause and prejudice analysis, ?the question is not
   whether legal developments or new evidence has made a claim easier
   or better, but whether at the time of the direct appeal the claim
   was available at all.” Lynn v. United States, 365 F.3d 1225, 1235


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   (11 Cir. 2004).


                    1. Exception (1)-Cause and Prejudice


                                    a. Cause


         The Supreme Court has held that a petitioner can show cause
   for failing to raise an issue when ?some objective factor external
   to the defensen prevented [him] or his counsel from raising his
   claims on direct appeal and that this factor cannot be fairly
   attributable to [his] own conduct.” Weinacker v. United States,
   2017 WL 5665450, at *3 (11 Cir. June 16, 2017); See Murray v.
   Carrier, 477 U.S. 478, 488 (1986); Wright v. Hopper, 169 F.3d 695,
   703 (11th Cir. 1999); accord Lynn v. United States, 365 F.3d at
   1235. The Supreme Court has further held that cause for not raising
   a claim can be shown when a claim “is so novel that its legal basis
   was not reasonably available to counsel.” Bousley v. United States,
   523 U.S. 614, 622 (1998); see also, Reed v. Ross, 468 U.S. 1, 16
   (1984).


         A meritorious claim of ineffective assistance of counsel, as
   alleged herein, can also constitute cause. See United States v.
   Nyhuis, 211 F.3d 1340, 1344 (11th Cir. 2000). Ineffective assistance
   of counsel claims, however, are generally not cognizable on direct
   appeal and are properly raised by way of a §2255 motion regardless
   of whether they could have been brought on direct appeal. Massaro
   v. United States, 538 U.S. 500, 503, 123 S.Ct. 1690, 155 L.Ed.2d
   714 (2003); see also United States v. Patterson, 595 F.3d, 1324,
   1328 (11th Cir. 2010).


         Further, movant clearly faults counsel for failing to pursue
   the issue on direct appeal. The Eleventh Circuit has now made clear

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   that ?where there is an intervening decision of the Supreme Court
   on an issue that overrules either a decision of that Court” or
   where it overrules a published decision of the Eleventh Circuit
   ?that was on the books when the appellant's opening brief was
   filed, and that provides the appellant with a new claim or theory,
   the appellant will be allowed to raise that new claim or theory in
   a supplemental or substitute brief provided that he files a motion
   to do so in a timely fashion after ... the new decision is issued.”
   See United States v. Durham,9 795 F.3d 1329, 1331 (11th Cir. 2015).
   Consequently, movant has clearly demonstrated cause to overcome the
   procedural default.


                                      b.    Prejudice


         To   show   prejudice,       a    petitioner   must   demonstrate   actual
   prejudice resulting from the alleged constitutional violation.
   United States v. Frady, 456 U.S. 152, 168, 102 S. Ct. 1584, 71 L.
   Ed. 2d 816 (1982); Wainwright v. Sykes, 433 U.S. 72, 84, 97 S. Ct.
   2497, 2505, 53 L. Ed. 2d 594 (1977). As will be recalled, the
   movant's statutory minimum as to Count 4 was increased as a result
   of the ACCA enhancement to a term of 15 years and up to life
   imprisonment. (PSI ¶¶26,72). Moreover, his status as an armed
   career criminal under the guidelines resulted in an increase to the
   movant's initial base offense level from a level 34 to a level 37,
   although it had no effect on his criminal history category which
   remained    unchanged    at    a       criminal   history   category   VI.   (PSI


         9
          The Durham opinion was issued in August 2015, just two months after the
   movant's Eleventh Circuit decision on direct appeal issued. However, it is clear
   that appellate counsel could have sought rehearing and/or rehearing en banc or
   leave to file supplemental briefing since Johnson was issued prior to the
   Eleventh Circuit's decision in his case. Therefore, the movant has effectively
   demonstrated cause to overcome the procedural default. It thus remains to be
   determined if he can satisfied the prejudice prong, which will require review to
   ascertain whether he, in fact, has the requisite prior convictions to support the
   ACCA enhancement.

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   ¶¶20,25,26,40). Without the ACCA enhancement, the movant's advisory
   guideline range, based on a total adjusted offense level 34, with
   a criminal history category VI, would have          resulted in a term of
   262 to 327 months imprisonment. Statutorily, a violation of 18
   U.S.C.   §922(g),    as   charged    in   Count    4,     without    the   ACCA
   enhancement, calls for a term of 10 years imprisonment, but with
   the ACCA enhancement, it was increased, pursuant to 18 U.S.C.
   §924(e) to 15 years imprisonment. Therefore, if movant does not
   have the three prior qualifying predicate offenses, then prejudice
   has been established.


         The government argues, however, concedes that the armed career
   criminal designation is no longer valid, but claims the conviction
   as to Count 4 should remain valid, suggesting that no resentencing
   is required because the movant's mandatory life sentences under
   §3559©   remain   lawful;   and,    therefore     there    is   no   ?practical
   sentencing consequence,” because the movant is still serving life
   sentences on his remaining convictions. (Cv-DE#14).


                                  c.   Analysis


         As applied here, the movant has filed this §2255 proceeding,
   based in part on the new, retroactively applicable rule announced
   in Johnson, claiming that the residual clause of the ACCA is
   unconstitutional. Movant does not allege new evidence, nor the
   existence of an error that would render his sentence unlawful, but
   rather argues that, but for Johnson, he would not be entitled to
   relief from his ACCA enhancement.


         Consequently, where the Supreme Court explicitly overrules
   well-settled precedent and gives retroactive application to that
   new rule after a litigant’s direct appeal, “[b]y definition” a


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   claim based on that new rule cannot be said to have been reasonably
   available to counsel at the time of the direct appeal.                               Reed v.
   Ross, 468 U.S. 1, 17 (1984). That is precisely the circumstance
   here. Regardless, the Eleventh Circuit has made clear that the new
   rule could have been raised in a supplemental briefing. See United
   States v. Durham, 795 F.3d 1329, 1331 (11th Cir. 2015). The Supreme
   Court in Johnson overruled precedent, announced a new rule, and
   then gave retroactive application to that new rule. Under the
   totality of the circumstances present here, the movant's claim fits
   squarely within §2255 and §2244(b)(4), and is thus not procedurally
   barred from review.


            2. Exception (2)-Fundamental Miscarriage of Justice


         If, however, the movant fails to meet the exceptions to the
   procedural       default      rule,    because         he    cannot    show    cause     and
   prejudice, another avenue may exist for obtaining review of the
   merits     of    a    procedurally     defaulted            claim.    Under    exceptional
   circumstances, a prisoner may obtain federal habeas review of a
   procedurally defaulted claim if such review is necessary to correct
   a fundamental miscarriage of justice, “where a constitutional
   violation has probably resulted in the conviction of one who is
   actually innocent.”           Murray, 477 U.S. at 495-96; see also Herrera
   v. Collins, 506 U.S. 390, 404, 113 S. Ct. 853, 862, 122 L. Ed. 2d
   203 (1993); Kuhlmann v. Wilson, 477 U.S. 436, 106 S. Ct. 2616, 91
   L.   Ed.    2d       364   (1986).    The     actual         innocence    exception       is
   “exceedingly         narrow   in     scope”      and    requires       proof    of    actual
   innocence, not just legal innocence. Id. at 496; see also Bousley,
   523 U.S. at 623 (“‘actual innocence’ means factual innocence, not
   mere legal insufficiency”); Sawyer v. Whitley, 505 U.S. 333, 339
   (1992)(“the miscarriage of justice exception is concerned with
   actual as compared to legal innocence”). No such showing has been


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   made here.


         Nevertheless, when judicial economy dictates, where the merits
   of the claim may be reached and readily disposed of, judicial
   economy has        dictated   reaching      the    merits   of      the   claim   while
   acknowledging the procedural default and bar in the alternative.10
   See Lambrix v. Singletary, 520 U.S. 518 (1997). See also Barrett v.
   Acevedo, 169 F.3d 1155, 1162 (8th Cir. 1999)(stating that judicial
   economy sometimes dictates reaching the merits if the merits are
   easily resolvable against a petitioner and the procedural bar
   issues     are   complicated),     cert.      denied,   528      U.S.     846   (1999);
   Chambers v. Bowersox, 157 F.3d 560, 564 n. 4 (8th Cir. 1998)(stating
   that “[t]he simplest way to decide a case is often the best.”).


                             VI. General Legal Principles


         Because collateral review is not a substitute for direct
   appeal, the grounds for collateral attack on final judgments,
   pursuant to §2255, are extremely limited. A prisoner is entitled to
   relief     under      §2255   if   the   court      imposed      a    sentence    that
   (1) violated        the   Constitution or         laws of     the    United     States,
   (2) exceeded its jurisdiction, (3) exceeded the maximum authorized
   by law, or (4) is otherwise subject to collateral attack. See 28
   U.S.C. §2255(a); McKay v. United States, 657 F.3d 1190, 1194 n.8
   (11th Cir. 2011). “Relief under 28 U.S.C. §2255 ‘is reserved for
   transgressions of constitutional rights and for that narrow compass
   of other injury that could not have been raised in direct appeal
   and would,       if   condoned,    result     in   a complete        miscarriage     of

         10
          Even if a claim is technically unexhausted here, the Court has exercised
   the discretion now afforded by Section 2255, as amended by the AEDPA, which
   permits a federal court to deny on the merits a habeas corpus application
   containing unexhausted claims. See Johnson v. Scully, 967 F.Supp. 113 (S.D.N.Y.
   1996); Walker v. Miller, 959 F.Supp. 638 (S.D. N.Y. 1997; Duarte v. Miller, 947
   F.Supp. 146 (D.N.J. 1996).

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   justice.’” Lynn v. United States, 365 F.3d 1225, 1232 (11th Cir.
   2004)(citations omitted). The “fundamental miscarriage of justice”
   exception recognized in Murray v. Carrier, 477 U.S. 478, 496
   (1986),     provides    that    it   must   be   shown   that   the    alleged
   constitutional violation “has probably resulted in the conviction
   of one who is actually innocent ....”


         The law is well established that a district court need not
   reconsider issues raised in a section 2255 motion which have been
   resolved on direct appeal. Rozier v. United States, 701 F.3d 681,
   684 (11th Cir. 2012); United States v. Nyhuis, 211 F.3d 1340, 1343
   (11th Cir. 2000); Mills v. United States, 36 F.3d 1052, 1056 (11th
   Cir. 1994); United States v. Rowan, 663 F.2d 1034, 1035 (11th Cir.
   1981). Once a matter has been decided adversely to a defendant on
   direct appeal, it cannot be re-litigated in a collateral attack
   under section 2255. Nyhuis, 211 F.3d at 1343 (quotation omitted).
   Broad discretion is afforded to a court's determination of whether
   a particular claim has been previously raised. Sanders v. United
   States, 373 U.S. 1, 16, 83 S.Ct. 1068, 10 L.Ed.2d 148 (1963)
   (“identical grounds may often be proved by different factual
   allegations ... or supported by different legal arguments ... or
   couched in different language ... or vary in immaterial respects”).


         The   movant     raises   multiple    claims   challenging      counsel's
   effectiveness during all stages of the proceeding. The Sixth
   Amendment to the United States Constitution guarantees criminal
   defendants the right to the assistance of counsel during criminal
   proceedings against them. Strickland v. Washington, 466 U.S. 668,
   684–85, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). When assessing
   counsel's performance under Strickland, the Court employs a strong
   presumption that counsel “rendered adequate assistance and made all
   significant decisions in the exercise of reasonable professional


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   judgment.” Id. at 690. “[T]he Sixth Amendment does not guarantee
   the right to perfect counsel; it promises only the right to
   effective assistance ....” Burt v. Titlow,                    U.S.        , 134 S.Ct.
   10,   18,   187   L.Ed.2d      348    (2013).     To   prevail      on    a    claim   of
   ineffective assistance of counsel, the movant must demonstrate (1)
   that his counsel's performance was deficient, i.e., the performance
   fell below an objective standard of reasonableness, and (2) that he
   suffered prejudice as a result of that deficient performance.
   Strickland, 466 U.S. at 687-88.


         To establish deficient performance, the movant must show that,
   in light of all the circumstances, counsel's performance was
   outside the wide range of professional competence. Strickland,
   supra. See also Cummings v. Sec'y for Dep't of Corr's, 588 F.3d
   1331, 1356 (11th Cir. 2009)(“To establish deficient performance, a
   defendant must show that his counsel's representation fell below an
   objective    standard     of     reasonableness        in   light    of       prevailing
   professional      norms     at       the   time    the      representation         took
   place.”)(internal quotation marks omitted). The Court's review of
   counsel's performance should focus on “not what is possible or what
   is prudent or appropriate but only [on] what is constitutionally
   compelled.” Chandler v. United States, 218 F.3d 1305, 1313 (11th
   Cir. 2000)(en banc), cert. den'd, 531 U.S. 1204 (2001)(quoting
   Burger v. Kemp, 483 U.S. 776, 107 S.Ct. 3114, 3126, 97 L.Ed.2d 638
   (1987)). There are no absolute rules dictating what is reasonable
   performance because absolute rules would restrict the wide latitude
   counsel have in making tactical decisions. Id. at 1317. The test
   for ineffectiveness is not whether counsel could have done more;
   perfection is not required. Nor is the test whether the best
   criminal defense attorneys might have done more. Chandler, 218 F.3d
   at 1313. Instead, the test is whether what counsel did was within
   the wide range of reasonable professional assistance. Id. at 1313


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   n.12.


         Regarding the prejudice component, the Supreme Court has
   explained “[t]he defendant must show that there is a reasonable
   probability that, but for counsel's unprofessional errors, the
   result of the proceeding would have been different.” Strickland,
   466 U.S. at 694. In assessing whether a particular counsel’s
   performance was constitutionally deficient, courts indulge a strong
   presumption that counsel’s conduct falls within the wide range of
   reasonable assistance. Strickland, 466 U.S. at 689. A reasonable
   probability is “a probability sufficient to undermine confidence in
   the outcome.” Strickland, 466 U.S. at 694. A court need not address
   both prongs of Strickland if the defendant makes an insufficient
   showing on one of the prongs. Stickland, 466 U.S. at 697. See also
   Brown v. United States, 720 F.3d 1316, 1326 (11 Cir. 2013); Butcher
   v. United States, 368 F.3d 1290, 1293 (11 Cir. 2004). Further,
   counsel is not ineffective for failing to raise non-meritorious
   issues. Chandler v. Moore, 240 F.3d 907, 917 (11 Cir. 2001).
   Moreover, counsel is not required to present every non-frivolous
   argument. Dell v. United States, 710 F.3d 1267, 1282 (11 Cir.
   2013).


         A court must adhere to a strong presumption that “counsel's
   conduct falls within the wide range of reasonable professional
   assistance.” Strickland, 466 U.S. at 689. Strategic choices made
   after thorough investigation of the law and facts relevant to
   plausible options are virtually unchallengeable. Id. at 690-91. To
   uphold a lawyer's strategy, the Court need not attempt to divine
   the lawyer's mental processes underlying the strategy. “There are
   countless ways to provide effective assistance in any given case.”
   Strickland, 466 U.S. at 689. No lawyer can be expected to have
   considered all of the ways. Chandler, 218 F.3d at 1316.


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         Since the sentence ultimately imposed upon the defendant is a
   “result of the proceeding,” in order for a petitioner to satisfy
   the prejudice-prong of Strickland, he must demonstrate that there
   is a reasonable probability that his sentence would have been
   different but for his trial counsel’s errors. See United States v.
   Boone, 62 F.3d 323, 327 (10th Cir.)(rejecting the defendant’s claim
   that counsel was ineffective in part because the defendant failed
   to show “that the resulting sentence would have been different than
   that imposed under the Sentencing Guidelines”), cert. denied, 516
   U.S. 1014 (1995). Thus, the Strickland test applies to claims
   involving ineffective assistance of counsel during the punishment
   phase of a non-capital case. See Glover v. United States, 531 U.S.
   198 (2001)(holding “that if an increased prison term did flow from
   an error [of counsel] the petitioner has established Strickland
   prejudice”); Spriggs v. Collins, 993 F.2d 85, 88 (5th Cir. 1993).
   If the petitioner cannot meet one of Strickland’s prongs, the court
   does not need to address the other prong. Strickland, 466 U.S. at
   687, 104 S.Ct. at 2064. See also Butcher v. United States, 368 F.3d
   1290, 1293 (11th Cir. 2004).


         Furthermore, a §2255 movant must provide factual support for
   his contentions regarding counsel's performance. Smith v. White,
   815 F.2d 1401, 1406–07 (11th Cir.1987). Bare, conclusory allegations
   of   ineffective    assistance    are    insufficient   to   satisfy    the
   Strickland test. See Boyd v. Comm'r, Ala. Dep't of Corr’s, 697 F.3d
   1320, 1333–34 (11th Cir. 2012); Garcia v. United States, 456
   Fed.Appx. 804, 807 (11th Cir. 2012) (citing Yeck v. Goodwin, 985
   F.2d 538, 542 (11th Cir. 1993)); Wilson v. United States, 962 F.2d
   996, 998 (11th Cir. 1992); Tejada v. Dugger, 941 F.2d 1551, 1559
   (11th Cir. 1991); Stano v. Dugger, 901 F.2d 898, 899 (11th Cir.
   1990)(citing Blackledge v. Allison, 431 U.S. 63, 74, 97 S.Ct. 1621,
   52 L.Ed.2d 136 (1977)); United States v. Ross, 147 Fed.Appx. 936,


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   939 (11th Cir. 2005).


         Finally, the Eleventh Circuit has recognized that the test is
   not what the best lawyers would have done or even what most good
   lawyers would have done, but rather whether some reasonable lawyer
   could have acted in the circumstances as defense counsel acted.
   Williamson v. Moore, 221 F.3d 1177, 1180 (11th Cir. 2000). “Even if
   counsel's decision appears to have been unwise in retrospect, the
   decision will be held to have been ineffective assistance only if
   it was ‘so patently unreasonable that no competent attorney would
   have chosen it.’” Dingle, 480 F.3d at 1099 (quoting Adams v.
   Wainwright, 709 F.2d 1443, 1445 (11th Cir. 1983)). The Sixth Circuit
   has framed the question as not whether counsel was inadequate, but
   was   counsel's    performance   was    so   manifestly   ineffective   that
   “defeat was snatched from the hands of probable victory.” United
   States v. Morrow, 977 F.2d 222, 229 (6th         Cir. 1992).


                     VII. Burden of Proof Re Johnson Claim


         The Eleventh Circuit has now settled the issue regarding the
   burden of proving a Johnson claim in Beeman v. United States, 871
   F.3d 1215 (11 Cir. 2017). There, the Eleventh Circuit made clear
   that the movant, not the government, ?bears the burden to prove the
   claims in his §2255 motion.” Beeman v. United States, 871 F.3d at
   1222 (citing Rivers v. United States, 777 F.3d 1306, 1316 (11 Cir.
   2015); LeCroy v. United States, 739 F.3d 1297, 1321 (11 Cir. 2014);
   Barnes v. United States, 579 F.2d 364, 366 (5 Cir. 1978)(?Under
   Section 2255, [the movant] had the burden of showing that he was
   entitled to relief.”); Coon v. United States, 441 F.2d 279, 280 (5
   Cir. 1971)(?A movant in a collateral attack upon a judgment has the
   burden to allege and prove facts which would entitle him to
   relief.”)). In that regard, the Eleventh Circuit held:


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                    To prove a Johnson claim, the movant must
               show that--more likely than not--it was use of
               the residual clause that led to the sentencing
               court's enhancement of his sentence. If it is
               just as likely that the sentencing court
               relied on the elements or enumerated offenses
               clause, solely or as an alternative basis for
               the enhancement, then the movant has failed to
               show that his enhancement was due to use of
               the residual clause.


   Beeman v. United States, 871 F.3d 1215, 1221-1222 (11 Cir. 2017).


          In so ruling, the Eleventh Circuit recognized that ?[O]ne of
   the principal functions of [the] AEDPA was to ensure a greater
   degree of finality for convictions.” Beeman v. United States, 871
   F.3d   at   1223   (citations   omitted).    The   court       recognized   that
   ?[P]utting the burden of proof and persuasion on the Government in
   a   §2255   proceeding   to   show   the   absence   of    a    constitutional
   violation or that an error had no effect on the judgment would
   undermine the presumption of finality that attaches at the end of
   the direct appeal process,” and ?would go             a long way toward
   creating a presumption of non-finality and undermine the important
   interests that finality protects.” Beeman v. United States, 871
   F.3d at 1223.


          The Eleventh Circuit also made clear in Beeman that:


                     [A] Johnson claim and a Descamps claim
               make two very different assertions. A Johnson
               claim    contends  that  the  defendant   was
               sentenced as an armed career criminal under
               the residual clause, while a Descamps claim
               asserts that the defendant was incorrectly
               sentenced as an armed career criminal under
               the elements or enumerated offenses clause.

   See Beeman v. United States, 871 F.3d at 1220. In Beeman, the

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   movant's    arguments     ?focused”     or   raised    a   Descamps11    claim,
   maintaining that his Georgia conviction for aggravated assault
   could no longer qualify as an aggravated felony under the element
   clause. Id. However, the movant also raised, what ?sounds like a
   Johnson claim,” arguing that the sentencing court erred in relying
   on the residual clause to determine that his aggravated assault
   conviction in Georgia qualified as a crime of violence under the
   ACCA. The defendant supported his argument, stating that aggravated
   assault in Georgia had historically qualified as an ACCA predicate
   under that statute's residual clause.” Id.


        VIII. Applicable Supreme Court Decisions Re Sentencing &
             the Categorical Approach to Residual Clauses Cases

         In order to address the merits of the movant's claims, a brief
   discussion of Johnson and Dimaya, and its applicability to the
   movant's enhancements under §3559©, §924(e), and §924©, together
   with the categorical approach to review of the types of claims
   follows. To determine whether an offense is a crime of violence,
   courts employ what has come to be known as the ?categorical
   approach,” especially where it involves residual clause cases. See
   Sessions v. DiMaya, ___ U.S. ___, 138 S.Ct. 1204, 1216 (2018);
   Taylor v. United States, 495 U.S. 575, 600, 110 S.Ct. 2143, 109
   L.Ed.2d 607 (1990); see also, Mathis v. United States, ___ U.S.
   ___, 136 S.Ct. 2243, 2248-49, 195 L.Ed.2d 604 (2016)(outlining the
   categorical approach); Descamps v. United States, 570 U.S. 254,
   257, 133 S.Ct. 2276, 186 L.Ed.2d 438 (2013)(same).


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          Descamps v. United States, 570 U.S. 254, 133 S.Ct. 2276, 186 L.Ed.2d 438
   (2013). In Descamps, the Supreme Court described ?how federal courts should
   determine whether an offense qualifies as a predicate offender under the ACCA's
   enumerated offenses and elements clauses.” Beeman v. United States, 871 F.2d at
   1218)(citing Mathis v. United States, 579 U.S.      , 136 S.Ct. 2243, 195 L.Ed.2d
   604 (2016); Descamps, 527, U.S. 2254, 133 S.Ct. 2276; Shepard v. Untied States,
   544 U.S. 13, 125 S.Ct. 1254, 161 L.Ed.2d 205 (2005); Taylor v. United States, 495
   U.S. 575, 110 S.Ct. 2143, 109 L.Ed.2d 607 (1990)).

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          The Eleventh Circuit has also made clear that the categorical
   approach is applicable to determine whether a predicate crime was
   a ?crime of violence” under either §924(c)(3)(A) or §924(c)(3)(B).
   See United States v. McGuire, 706 F.3d 1333, 1336-1337 (11 Cir.
   2013) (holding that §924(c)(3)(A) and §924(c)(3)(B) requires a
   categorical approach to determine whether defendant's underlying
   crime constitutes a ?crime of violence.”). Under the categorical
   approach, courts identify ?the minimum criminal conduct necessary
   for conviction under a particular statute. McGuire, cite. In do so,
   courts    ?'look   only    to    the   statutory    definitions'–i.e.,        the
   elements–of    [the]     ...    offense[],   and   not    'to    the   particular
   [underlying] facts.'” Descamps, 570 U.S. at 261, 133 S.Ct. 2276
   (quoting Taylor, 495 U.S. at 600, 110 S.Ct. at 2143). As relevant
   here, one of the issues this court will be required to consider is
   when   applying    the    categorical    approach,       the    minimum   conduct
   necessary for a conviction of the predicate offense (in this case,
   a conspiracy to commit Hobbs Act robbery), the conduct amounts to
   a crime of violence under §924(c)(3)(A).


          Critically, the Supreme Court has emphasized in employing the
   categorical approach that, to show a predicate conviction is not a
   crime of violence ?requires more than the application of legal
   imagination to [the]...statute's language.” Gonzalez v. Duenas-
   Alvarez, 549 U.S. 183, 193, 127 S.Ct. 815, 166 L.Ed2d 683 (2007).
   Rather, there must be ?a realistic probability, not a theoretical
   possibility,” that the statute at issue could be applied to conduct
   that does not constitute a crime of violence. Id. To show a
   particular reading of the statute is realistic, a defendant ?must
   at least point to his own case or other cases in which the...courts
   in fact did apply the statute in the...manner for which he argues.”
   Id. To that end, the categorical approach must be grounded in
   reality, logic, and precedent, not flights of fancy. See Moncrieffe


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   v. Holder, 569 U.S. 184, 190-91, 133 S.Ct. 1678, 185 L.Ed.2d 727
   (2013)(noting that ?focus on the minimum conduct criminalized by
   the [relevant]     statute    is   not   an   invitation   to   apply   'legal
   imagination' to the...offense”) (quoting Duenas-Alvarez, 549 U.S.
   at 193, 127 S.Ct. 815).


                            A. The Johnson Decision


         On June 26, 2015, the Supreme Court issued its decision in
   Johnson v. United States, 576 U.S. ____, 135 S.Ct. 2551, 192
   L.Ed.2d 569 (2015).12 In Johnson, the Supreme Court held that the
   ?residual clause” of the Armed Career Criminal Act (ACCA), 18
   U.S.C.     §924(e)(2)(B),    was   unconstitutionally      vague,   and   that
   imposing an enhanced sentence, pursuant to that ,clause violates
   the Constitution’s Due Process Clause. See Johnson v. United
   States, 576 U.S. at ____, 135 S.Ct. at 2558, 2563. (emphasis
   added). The Supreme Court in Welch v. United States, ___ U.S. ___,
   136 S.Ct. 1257 (2016), then made Johnson retroactively applicable
   to cases on collateral review as a new constitutional rule.


         The ACCA, 18 U.S.C. §924(e), applies an enhanced sentence to
   a felon in possession of a firearm, if the felon has three prior
   convictions for a qualifying drug offense or qualifying violent
   felony offense. Under the ACCA, Congress defined ?violent felony”
   as any crime punishable by a term of imprisonment exceeding one
   year that:


         (i)   has as an element the use, attempted use, or
         threatened use of physical force against the person of
         another; or


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          In Welch v. United States, 578 U.S. __, 136 S.Ct. 1257, 194 L.Ed.2d 387
   (2016), the Supreme Court held that Johnson announced a substantive rule that
   applied retroactively on collateral review.

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         (ii) is burglary, arson, or extortion, involves the use
         of explosives, or otherwise involves conduct that
         presents a serious potential risk of physical injury to
         another.


   18 U.S.C. §924(e)(2)(B)(emphasis added). The italicized portion of
   §924(e) above was found to be unconstitutionally vague because the
   residual clause left uncertainty about the degree of risk necessary
   for a crime to qualify as a violent felony, requiring judges to
   apply the ?serious potential risk” standard to an imagined ?ordinary
   case.” Johnson v. United States, ___ U.S. at ____, 135 S.Ct. at
   2558.


         The Johnson court, however, limited its holding, emphasizing
   that it had no effect on the first prong of §924(e)(2)(B)(i), known
   as the ?elements clause,” and did not call into question the
   enumerated crimes listed in subsection (ii). Id. at 2563 (emphasis
   added). The Supreme Court commented in Johnson that, ?it does not
   doubt the constitutionality of laws that call for the application
   of a qualitative standard such as 'substantial risk,'” but noted
   that ?[T]he residual clause, however, requires application of the
   'serious potential risk' standard to an idealized ordinary case of
   the crime.” Id. Johnson v. United States, ___ U.S. at ____, 135
   S.Ct. at 2551-63.


                                B. Dimaya Decision


         More recently, the Supreme Court in Sessions v. DiMaya, ___
   U.S. ____, 138 S.Ct. 1204, 200 L.Ed.2d 549 (2018), considered the
   constitutionality of the definition of ?crime of violence,” under
   18   U.S.C.   §16(b),   as   incorporated   into   the   Immigration    and
   Nationality Act (?INA”), 8 U.S.C. §1101(a)(43)(F). Title 18 U.S.C.
   §16(b) defines ?crime of violence” as ?any other offense that is a

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   felony and that, by its nature, involves a substantial risk that
   physical force against the person or property of another may be
   used in the course of committing the offense.” The DiMaya court
   found the language in §924(e)(2)(B)(ii) to be virtually identical
   to §16(b), which have come to be known as the statutes' ?residual
   clause.” Dimaya, __ U.S. at ___, 138 S.Ct. 1207.


         In its discussion, the Supreme Court explained that the ?void
   for vagueness doctrine” guarantees that ?ordinary people have 'fair
   notice' of the conduct a statute proscribes.” DiMaya, ___ U.S. at
   ___, 138 S.Ct. at 1212 (quoting Papachristou v. Jacksonville, 405
   U.S. 156, 162, 92 S.Ct. 839, 31 L.Ed.2d 110 (1972)). Thus, the
   DiMaya Court found §16(b)'s residual clause ?has the same two
   features as the ACCA's, combined in the same constitutionally
   problematic way,” creating ?great uncertainty about how to estimate
   the risk posed by a crime,” because it ?tie[d] judicial assessment
   of risk to a hypothesis about the crimes 'ordinary case.'” DiMaya,
   __ U.S. at ___, 138 S.Ct. at 1213 (quoting Johnson v. United
   States, ___ U.S. at ___, 135 S.Ct. at 2557). In other words, the
   Johnson residual clause ?offer[ed] no reliability” to discern what
   the ordinary version of any offense looked like. DiMaya, ___ U.S.
   at ____, 138 S.Ct. at 1214 (citing Johnson v. United States, ___
   U.S. at ___, 135 S.Ct. 2557). Discussing the Johnson decision, the
   DiMaya Court further explained that ?the ACCA's residual clause
   left unclear what threshold level of risk made any given crime a
   ?violent felony.” See Ibid. Thus, DiMaya found §16(b)'s definition
   of a ?crime of violence” void for vagueness because it too produced
   ?more unpredictability and arbitrariness than the Due Process
   Clause tolerates.” DiMaya, ___ U.S. at ___, 138 S.Ct. at 1215
   (quoting Johnson, ___ U.S. at ___, 135 S.Ct. at 2558.


                                IX.   Discussion


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                     A. Challenge to the §922(g) Conviction


         The movant argues that his enhanced sentence as an armed
   career criminal is unlawful because he does not have the qualifying
   predicate offenses to support the enhancement. (Cv-DE#s,1,4). At
   the   time,   the    pro   se    movant    argued    that   his   prior   felony
   convictions, entered in Miami-Dade County Circuit Court, Case No.
   F12-6583, for fleeing and eluding a law enforcement officer, and in
   Case No. F5-21499, for armed robbery, do not constitute ?crimes of
   violence,”       post-Johnson.    (Cv-DE#4).    As    a   result,   the   movant
   maintains his conviction as to Count 4, for felon in possession of
   a firearm and ammunition, in violation of 18 U.S.C. §922(g)(1) and
   18 U.S.C. §924(e)(1) is no longer valid. (Id.).


         In   its    response,     the   government     concedes,    without   much
   detailed explanation, that movant's enhanced sentence as an armed
   career criminal, as set forth in the PSI, is no longer valid. (Cv-
   DE#14:5,7). In its concession, the government explicitly states
   that the movant's prior burglary convictions, are not ?crimes of
   violence,” and thus cannot support his enhanced §924(e) sentence,
   as charged in Count 4 of the Indictment, in violation of §924(g)
   and §924(e), under the ACCA's elements or enumerated clauses, post-
   Mathis v. United States, ___ U.S. ___, ___, 136 S.Ct. 2243, 2251
   (2016).


         Briefly, as will be recalled, under the law of the circuit in
   existence when the movant was sentenced, a felony conviction for
   using a vehicle to flee or elude a law enforcement official, in
   violation of Florida law, qualified as a “violent felony” under the
   ACCA's residual clause. See United States v. Petite, 703 F.3d 1290,
   1301 (11th Cir. 2013). However, the Supreme Court has since struck


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   down the residual clause of the ACCA as unconstitutionally vague.
   Johnson, ___ U.S. at ____, 135 S.Ct. at 2557-2558.


         Under the ACCA, a defendant found guilty of possession of a
   firearm or ammunition, pursuant to 18 U.S.C. §922(g),13 is subject
   to an enhanced sentence, requiring a mandatory minimum fifteen
   years imprisonment       if   the defendant     has   three   or   more   prior
   convictions for a “violent felony” and/or a “serious drug offense”
   which were “committed on occasions different from one another.” 18
   U.S.C. §924(e)(1). Under §924(e)(2)(B), ?violent felony” means:


         any crime punishable by imprisonment for a term exceeding
         one year, or any act of juvenile delinquency involving
         the use or carrying of a firearm, knife, or destructive
         device that would be punishable by imprisonment for such
         term if committed by an adult, that—

         (i)   has as an element the use, attempted use, or
         threatened use of physical force against the person of
         another [the “elements clause”]; or

         (ii) is burglary, arson, or extortion, involves use of
         explosives [the “enumerated offenses clause”], or
         otherwise involves conduct that presents a serious
         potential risk of physical injury to another [the
         “residual clause”]....


   18 U.S.C. §924(e)(2)(B) (alterations added).


         The Supreme Court held in Johnson, the residual clause of
   §924(e)(2)(B)(ii) is unconstitutionally vague. Johnson v. United
   States, ___ U.S. at ____, ____, 135 S. Ct. at 2557–58, 2563. The
   Supreme Court was nonetheless clear that it did not call into



         13
            Under 18 U.S.C. §922(g)(1), it is unlawful for any person who has
   previously been convicted of a crime, punishable by a term of imprisonment
   exceeding one year, to possess or receive a firearm or ammunition which has been
   shipped or transported in interstate commerce.

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   question the application of the elements clause or the enumerated
   crimes of the ACCA’s definition of a violent felony. Id.


         Also, post-Johnson, the Eleventh Circuit has made clear that
   Florida's fleeing and eluding statute, no longer qualifies as a
   ?violent felony” under the ACCA, because it does not have “as an
   element the use, attempted use, or threatened use of physical force
   against the    person   of   another,”     is    not   “burglary,    arson,   or
   extortion,”    and   does    not   involve      the    “use   of   explosives.”
   See United States v. Garner, 644 Fed.Appx. 880, 881 (11th Cir.
   2016), cert. den'd, 137 S. Ct. 1326 (2017)(citing 18 U.S.C. §
   924(e)(2)(B)(i)-(ii); Sykes v. United States, 564 U.S. 1, 131 S.Ct.
   2267, 2273, 180 L.Ed.2d 60 (2011), overruled on other grounds by
   Johnson, 135 S.Ct. at 2551; and, Petite, 703 F.3d at 1293).


         The government also concedes correctly that the movant's prior
   burglary convictions do not appear to qualify as predicate crimes
   of violence under the ACCA. See           See Mathis v. United States, —-
   S.Ct. —-, 2016 WL 3434400, *3 (June 23, 2016); see also James v.
   United States, 550 U.S. 192, 212, 127 S. Ct. 1586, 1599, 167 L. Ed.
   2d 532 (2007) overruled on other grounds by Johnson v. United
   States, 135 S. Ct. 2551, 192 L. Ed. 2d 569 (2015)(“We agree that
   the inclusion of curtilage takes Florida's underlying offense of
   burglary outside the definition of ‘generic burglary’...”).


         Finally, the Eleventh Circuit has also held, post-Johnson,
   that a Florida burglary conviction is no longer a “violent felony”
   under the ACCA. United States v. Oscar, 877 F.3d 1270, 1293 (11th
   Cir. 2017); United States v. Garcia–Martinez, 845 F.3d 1126 (11th
   Cir. 2017); and, United States v. Espirit, 841 F.3d 1235 (11th Cir.
   2016).



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         Given    the   foregoing,     the    movant's      only    remaining    viable
   qualifying predicate offense, to support the ACCA enhancement, is
   movant's prior armed robbery conviction, entered in Case No. F95-
   21499, in violation of Florida law. The Eleventh Circuit has held
   that a prior Florida robbery conviction continues to qualify
   categorically as a violent felony under the elements clause of the
   Armed Career Criminal Act. See United States v. Fritts, 841 F.3d
   937, 939–42 (11th Cir. 2016); United States v. Seabrooks, 839 F.3d
   1326, 1338–45 (11th Cir. 2016). Under these circumstances, the
   movant's §924(g)(1) sentence must be vacated as to Count 4. Without
   the §924(e)(1) enhancement, the movant sentence exposure under
   §924(b),      dropped   from   15   years      to   no    more    than   10   years
   imprisonment. As a result, movant's §922(g)(1) sentence is no
   longer valid post-Johnson. Therefore, this §2255 motion is due to
   be granted to the extent that the sentence imposed as to Count 4
   must be vacated because it is unlawful post-Johnson. The government
   argues, however, that resentencing is unwarranted, because the
   movant was subject to life sentences under §3559© on this and the
   remaining offenses. As will be demonstrated below, this argument
   fails.


         The Eleventh Circuit has set forth the remedy when a motion to
   vacate is granted as to an ACCA claim, and what remedy should be
   applied. See      United States v. Hernandez, ___ F.3d ___, 2018 WL
   2427573, at *1–4 (11th Cir. May 30, 2018). In Hernandez, the
   Eleventh Circuit explained:


         Section 2255 allows a federal prisoner to collaterally
         attack his sentence on the grounds, among others, that
         the sentence “was imposed in violation of the
         Constitution or laws of the United States” or “was in
         excess of the maximum authorized by law.” 28 U.S.C. §
         2255(a). When a district court grants a §2255 motion, it
         must do two main things. Brown, 879 F.3d at 1235. First,
         it “must vacate and set the judgment aside.” Id.

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         (quotation marks omitted). Second, it “must choose from
         among four distinct remedies: (1) discharge the prisoner;
         (2) resentence the prisoner; (3) grant the prisoner a new
         trial; or (4) correct the prisoner’s sentence.” Id. The
         terms “resentence” and “correct” define distinct
         remedies. Id. at 1236. A “correction” is “a more limited
         remedy, responding to a specific error,” and does not
         require a resentencing hearing. Id. at 1236 & n.3. A
         “resentencing,” in contrast, is “more open-ended and
         discretionary, something closer to beginning the
         sentencing process anew,” and requires a resentencing
         hearing at which the defendant has the right to be
         present. Id.

         Brown sets out the framework for deciding when a
         resentencing hearing must be held after the grant of a
         §2255 motion. At bottom, the critical question is whether
         the sentence modification qualifies as a critical stage
         of the proceedings, such that due process guarantees the
         defendant’s right to be present. Id. at 1236 (citing
         Kentucky v. Stincer, 482 U.S. 730, 745, 107 S.Ct. 2658,
         96 L.Ed.2d 631 (1987)). Two inquiries guide that
         determination: “First, did the errors requiring the grant
         of habeas relief undermine the sentence as a whole?”; and
         “Second, will the sentencing court exercise significant
         discretion in modifying the defendant’s sentence, perhaps
         on questions the court was not called upon to consider at
         the original sentencing?” Id. at 1239–40. These inquiries
         are “fact-intensive.” See id. at 1238. When these factors
         are present, a sentence modification qualifies as a
         critical stage of the proceedings, and a resentencing
         hearing with the defendant present is required. Id. at
         1240.

         As for the first inquiry, a resentencing hearing may be
         required “[i]f there is a chance that an erroneous
         sentence on one count of conviction influenced the
         sentencing judge’s decisions on other counts.” Id. at
         1239.

         The general rule is that sentences on multiple counts are
         “considered as part of a single sentencing package.” Id.
         This reflects an understanding that, “especially in the
         guidelines era, sentencing on multiple counts is an
         inherently interrelated, interconnected, and holistic
         process which requires a court to craft an overall
         sentence—the   ‘sentence   package’—that   reflects   the
         guidelines and the relevant § 3553(a) factors.” United

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         States v. Fowler, 749 F.3d 1010, 1015 (11th Cir. 2014).
         So if there is a chance the error undermined the sentence
         as a whole, resentencing may be necessary because “merely
         excising the mistaken sentence for one count won’t put
         the defendant in the same position as if no error had
         been made.” Brown, 879 F.3d at 1239.

         As for the second inquiry, a resentencing hearing may be
         necessary “when a court must exercise its discretion in
         modifying a sentence in ways it was not called upon to do
         at the initial sentencing.” Id. That may occur, for
         example, if the original sentencing court did not reach
         certain issues because it “imposed a mandatory minimum
         sentence that no longer applies.” See id. With no
         applicable mandatory minimum, the court may need to
         exercise    its   discretion—by    resolving    guideline
         application issues or addressing the 18 U.S.C. § 3553(a)
         factors—in ways that were unnecessary at the original
         sentencing. See id. at 1240. For the same reason, a
         resentencing hearing may be the defendant’s first
         opportunity to meaningfully address certain issues
         pertinent to his sentence. Id. at 1239. In these
         circumstances, due process may require a hearing with the
         defendant present. See id. at 1239–40.

         Applying this framework in Brown, we held that the
         district court abused its discretion in failing to hold
         a   resentencing  hearing   before   modifying   Brown’s
         erroneously ACCA-enhanced sentence to the correct
         statutory maximum of ten years. First, we said that
         Brown’s entire sentence was undermined by the ACCA-error
         because the sentence on his “one and only count of
         conviction was found to be in error.” Id. at 1240. Thus,
         the court “was tasked with crafting an entirely new
         sentence” based on a different statutory provision and
         different guideline range. Id. Second, we found that
         court exercised wide discretion in imposing Brown’s new
         sentence. Id. We noted that, at the original sentencing
         hearing, the court sentenced Brown to the mandatory
         minimum and did not discuss the guidelines or the 18
         U.S.C. §3553(a). Id. And in modifying the sentence, the
         court applied a significant upward variance from the
         corrected guideline range of 77 to 96 months of
         imprisonment, which was a “clear act of open-ended
         discretion.” Id. at 1241. In light of all of these
         factors, we held that Brown was entitled to have a
         resentencing hearing and be present there. Id.


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         In this case, however, the district court’s choice of
         remedy—a limited correction to the sentence for the
         §922(g)(1) offense without a hearing—was reasonable under
         the circumstances....


   United States v. Hernandez, ___ F.3d ___, 2018 WL 2427573, at *1–3
   (11th Cir. May 30, 2018). The Eleventh Circuit concluded, however,
   that where a defendant like Hernandez, and by analogy, the movant
   here, is sentenced on multiple counts of conviction, and where
   removal of the §924(e) enhancement does not remove the statutory
   basis for the total sentence imposed, nor does it affect, for
   example, a §924© sentence, which runs consecutive to any other
   sentence imposed, then the ACCA error has no effect on movant's
   guideline range and the error does not undermine the sentence as a
   whole. Id. Consequently, unless the movant were entitled to vacatur
   of the §924© or §3559© enhancements, it would not appear that the
   court would be required to conduct a complete resentencing hearing.


                    B. Challenge to the §924© Conviction


         Irrespective of the foregoing challenge to the validity of the
   §922(g) sentence, it also needs to be decided whether the movant's
   §924© conviction, as charged in Count 5 of the Indictment, based on
   a conspiracy to commit Hobbs Act robbery offense, as charged in
   Count 1 of the Indictment, is still lawful under §924©. Movant
   argues that the predicate offense, conspiracy to commit Hobbs Act
   robbery, is no longer a crime of violence; and, as such, cannot
   serve as the underlying predicate to support the §924© conviction.
   (Cv-DE#s20,22).


         As discussed above, if the movant shows that the claim is
   meritorious, he will have demonstrated cause and prejudice to
   overcome the procedural default of the claim. The movant argues


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   that the movant's §924© is no longer a crime of violence under
   either   §924(c)(3)(A)      or   §924(c)(3)(B),     because    the   predicate
   conviction of conspiracy to commit Hobbs Act robbery, as charged in
   Count 5, is not a ?crime of violence.” (Cv-DE#20).


         The movant further draws attention to the fact that the
   government should be prohibited from raising here an argument here
   that it withdrew in the codefendant's case. Like movant's case, in
   the codefendant's case, the government filed a notice withdrawing
   its argument that the §924© conviction, predicated on the Hobbs Act
   robbery conspiracy, was lawful under §924(c)(3)(A)'s force clause,
   because the law was unsettled and evolving whether a conspiracy
   could serve as a predicate crime of violence. Here, however, the
   government continues to argue that, like the substantive Hobbs Act
   robbery offense, the conspiracy offense has an element the ?use,
   attempted use, or threatened use of physical force against the
   person or property of another;” and, a such the conviction must
   stand. (Cv-DE#14:7-8). In the alternative, the government argues
   that the movant's §924© conviction remains lawful because the
   predicate Hobbs Act robbery conspiracy continues to qualify as a
   crime of violence under §924(c)(3)(B), the residual clause. (Cv-
   DE#23:10).


         First, it is worth noting at the outset that the Eleventh
   Circuit has not definitely decided that conspiracy to commit Hobbs
   Act robbery14 is a ?crime of violence” post-Johnson, much less, post


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            It is well settled in this and other circuits that substantive Hobbs Act
   robbery ?clearly qualifies as a 'crime of violence' under the use of force clause
   in §924(c)(3)(A). See In re Fleur, 824 F.3d at 1340; In re Rogers, 825 F.3d 1335,
   1338 (11 Cir. 2016); see also, United States v. Hill, 832 F.3d 135, 144 (2d Cir.
   2016); United States v. Collins, 2016 WL 1639960, at *31 (N.D. Ga. Feb. 9, 2016),
   report and recommendation adopted by, 2016 WL 1623910 (N.D. Ga. Apr. 25,
   2016)(?reference to §1915(a) is all that is necessary to determine that the
   charges here to do indeed satisfy §924(c)(3)(A)'s 'force' clause.”); United
   States v. Brownlow, 2015 WL 6452620, at *4 (N.D. Ala. Oct. 26, 2015)(citing out

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   the recent Supreme Court decision in DiMaya.15 Further, the Eleventh
   Circuit has not definitely determined whether Johnson even applies
   to §924(c)(3)(B),” and ?invalidates sentences that relied” upon it.
   See In re Fleur, 824 F.3d 1337, 1340 (11 Cir. 2016)(quoting In re
   Pinder, 824 F.3d 977, 978-79 (11 Cir. 2016)); see also, In re
   Pinder,     824   F.3d   at    979   n.1    (granting     second    or    successive
   application; stating “law is unsettled” regarding whether section
   924© conviction based on Hobbs Act conspiracy can survive Johnson).


         The    Eleventh    Circuit     did        recognize,    however,    that   ?the
   language in §924© and §924(e) are very similar.” In re Pinder, 824
   F.3d at 978. In Pinder, the Eleventh Circuit noted that both
   statutes ?require higher sentences once a court decides that an
   offense is a 'crime of violence,'” and instructs that a court apply
   the ?categorical approach,” ?'by reference to the elements of the
   offense, and not the actual facts of the defendant's conduct.'” In
   re Pinder 824 F.3d at 978 (alterations omitted) (quoting United
   States v. McGuire, 706 F.3d 1333, 1336 (11 Cir. 2013)). The
   Eleventh Circuit reasoned that ?[alt]hough §924© is phrased a bit
   differently from §924(e), the §924© language also requires courts
   to decide if the offense in question 'naturally involves a person
   acting in disregard of the risk that physical force might be used
   against another in committing an offense.'” Id. (quoting Leocal v.
   Ashcroft, 543 U.S. 1, 10 (2004))(alterations omitted).


         In    McGuire,     the    Eleventh        Circuit      emphasized   that   the
   categorical approach was to be applied in determining whether an
   underlying offense constitutes a crime of violence under §924©.


   of circuit authority). However, whether conspiracy to commit Hobbs Act robbery
   also qualifies as a crime of violence under §924(c)(3)(A) is more problematical.
         15
          Here, since the parties' briefs filed in 2017, the Supreme Court has
   decided Sessions v. DiMaya, and neither party has briefed its applicability here.

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   United States     v.   McGuire, 706      F.3d    1333,   1336–37   (11th   Cir.
   2013)(citing United States v. Llanos–Agostadero, 486 F.3d 1194,
   1196 (11th Cir. 2007). In so ruling, the Eleventh Circuit explained
   that the categorical approach is applied because, by the statute's
   own terms, the court needs to determine whether the defendant
   ?committed 'an offense' that 'has as an element the use, attempted
   use, or threatened use of physical force against the person or
   property    of   another,'   or   that    'by    its     nature,   involves   a
   substantial risk that physical force against the person or property
   of another may be used.'” United States v. McGuire, 706 F.3d at
   1336-1337 (quoting 18 U.S.C. §924(c)(3)(A)-(B) (emphasis added).


         As will be recalled, in Count 5, the movant was charged with
   violating 18 U.S.C. §924(c)(1)(A), based on his conviction for
   conspiracy to commit Hobbs Act robbery, in violation of 18 U.S.C.
   §1951(a), as charged in Count 1 of the Indictment. Like the ACCA,
   18 U.S.C. §924© provides for an enhanced sentence when any person
   uses, carries, or brandishes a firearm in furtherance of a ?crime
   of violence” or a drug trafficking crime. The movant argues that he
   is actually innocent of the his §924© conviction, because the
   conspiracy to commit Hobbs Act robbery, as charged in Count 1 of
   the Indictment, in violation of 18 U.S.C. §924(c)(1)(A), is not a
   ?crime of    violence” as    defined     under    §924(c)(3)(A)     (?elements
   clause”) or §924(c)(3)(B) (?the residual clause”).


         Specifically, under §924©, a “crime of violence” is defined as
   felony that:


               (A) has as an element the use, attempted use,
               or threatened use of physical force against
               the person or property of another, or

               (B) that    by   its  nature,   involves   a
               substantial risk that physical force against

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                 the person or property of another may be used
                 in the course of committing the offense.


   Id. §924(c)(3)(A), (B). The Eleventh Circuit has referred to the
   ?first prong,” §924(c)(3)(A) of the definition above as the “use-
   of-force” clause, and refers to the ?second prong,” §924(c)(3)(B)
   of the definition as the “risk-of-force” clause. See Sanchez v.
   United States, 717 Fed.Appx. 974 (11 Cir. 2018) (unpublished)
   (citing Ovalles v. United States, 861 F.3d 1257, 1263 (11th Cir.
   2017), rehearing en banc granted, opinion vacated by Ovalles v.
   United States, 889 F.3d 1259 (11th Cir. 2018); see also Marcano v.
   United States, 2017 WL 5171194, at *2 (11th Cir. Nov. 8, 2017).


         The     movant's       §924©   conviction    was   predicated   upon   his
   conspiracy to commit Hobbs Act robbery, which criminalizes conduct
   of a person who “in any way or degree obstructs, delays, or affects
   commerce ... by robbery or extortion or attempts or conspires so to
   do, or commits or threatens physical violence to any person or
   property in furtherance of a plan or purpose to do anything in
   violation of this section....” 18 U.S.C. §1951(a) (alterations
   added). “Robbery” is defined as an “unlawful taking ... by means of
   actual or threatened force, or violence, or fear of injury....” Id.
   §1951(b)(1) (alterations added).


         The robbery definition “has as an element the use, attempted
   use, or threatened use of physical force against the person or
   property of another.” See 18 U.S.C. §924(c)(3)(A); see also In re
   Fleur, 824 F.3d 1337, 1340 (11th Cir. 2016); United States v.
   Anglin, 846 F.3d 954, 965 (7th Cir. 2017) (referring to the
   “unbroken consensus” among sister circuits to decide Hobbs Act
   robbery is a crime of violence under the elements clause). It is
   now   clear     that     a    substantive     Hobbs   Act   robbery   conviction


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   categorically     qualifies      as     a    “crime      of    violence”        under   the
   use-of-force clause of section 924(c)(3), regardless of whether
   Johnson applies to §924(c)(3)(B)'s residual clause. See In re
   Fleur,    824   F.3d    1337,    1340       (11   Cir.   2016)(finding          companion
   conviction for Hobbs Act robbery, charged in the same Indictment as
   the §924© count, clearly qualifies as a “crime of violence” under
   the use-of-force clause in §924(c)(3)(A)).


         However, it is not clear whether conspiracy to commit Hobbs
   Act robbery constitutes a crime of violence under §924(c)(3)(A) or
   (B)'s residual or elements clause. Conspiracy to violate the Hobbs
   Act requires the following elements: (1) an agreement between two
   or more people to commit a Hobbs Act robbery or extortion; (2) the
   defendant knew of the conspiratorial goal; and, (3) the defendant
   voluntarily participated in furthering the conspiratorial goal. See
   United States v. Ransfer, 749 F.3d 914, 930 (11 Cir. 2014); see
   also,     United States v. Pringle, 350 F.3d 1172, 1176 (11th Cir.
   2003). However, the Government need not prove an overt act in
   furtherance of the conspiracy. See Duhart v. United States, No.
   08-60309-CR, 2016 WL 4720424, at *6 (S.D. Fla. Sept. 9, 2016)
   (citing United States v. Pistone, 177 F.3d 957, 959–60 (11th Cir.
   1999) (upholding conviction where defendant did no more than agree
   and plan to commit robbery, but took no over act)). Moreover, there
   is   no   requirement     that    the       defendant         ?was    even   capable     of
   committing” the underlying Hobbs Act offense. Ocasio v. United
   States, 136 S.Ct. 1423, 1432 (2016).


         The district court here has previously noted that conspiracy
   to   commit     Hobbs   Act     robbery       presents        ?a     somewhat    thornier
   question.” See Morton v. United States, 2017 WL 1041568, at *3 (11
   Cir. Mar. 2, 2017). Following the categorical approach, the “least
   culpable means” of conspiring to commit a Hobbs Act robbery, as


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   movant     suggests,   would   require      entering   a   verbal   or   written
   agreement to commit a Hobbs Act robbery. This application of the
   statute does not appear to “ha[ve] as an element the use, attempted
   use, or threatened use of physical force.” 18 U.S.C. §924(c)(3)(A)
   (alteration added).16


         It is also worth mentioning that the district court stressed
   in Morton v. United States, 2017 WL 1041568, at *3 (11 Cir. Mar. 2,
   2017) that:17


                Any analysis of Johnson's applicability must
                therefore be postponed unless and until the
                Court makes the determination the companions
                convictions are not crimes of violence under
                section    924(c)'s   use-of-force    clause.
                See United States v. Albertini, 472 U.S. 675,
                680 (11 Cir. 1985)(stating courts must
                generally exercise judicial restraint and
                construe statutes ?to avoid constitutional
                questions”).



         Based on the foregoing reasoning, the court could, at this
   juncture, exercise judicial restraint until such time as the
   Eleventh Circuit or Supreme Court determines that the companion
   conviction, conspiracy to commit Hobbs Act robbery is not a crime
   of violence under §924(c)'s use of force clause.


         Nonetheless, the government argues that conspiracy to commit

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            In the codefendant's case, the district court did not apply the
   categorical approach, finding that ?the practical difficulties of re-trying the
   factual basis for a prior conviction in a subsequent proceeding,” at issue in
   Johnson and the ACCA, which are not present in a §924(c) case. See United States
   v. Jenkins, S.D. Fla., Case No. 13-20334-Cr-Altonaga, DE#182:5 (quoting United
   States v. Jimenez-Segura, 206 F.Supp.3d 1115, 1132, at **12 (citing cf. Taylor
   v. United States, 495 U.S. 575, 598-602, 110 S.Ct. 2143, 109 L.Ed.2d 607 (1990)).
         17
          An appeal has been filed on May 2, 2017 and remains pending before the
   Eleventh Circuit.

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   Hobbs Act robbery constitutes a crime of violence, raising very
   similar arguments to those it raised in relation to why §16(b)
   should be distinguished from the ACCA residual clause, all of which
   were rejected by the Supreme Court in DiMaya. Many district courts
   that have agreed with the government have found, post-Johnson, that
   conspiracy to commit Hobbs Act robbery remains a crime of violence,
   have done so under §924(c)(3)(B)'s risk-of-force/residual clause.
   See Sylvain v United States, 2017 WL 944070, at **9-10 (S.D. Fla.
   Aug. 3, 2017) (finding conspiracy to commit Hobbs Act robbery is a
   crime of violence pre-DiMaya, relying in part on Morton v. United
   States, 2017 WL 2104158 at *6; States v. Turner, 501 F.3d 59, 67-68
   (1st Cir. 2007); United States v. Phan, 121 F.3d 149, 152-53 & n.7
   (4th Cir. 1997)); United States v. Hernandez, 2017 WL 111730, at
   *9-10 (D. Me. Jan. 11, 2017) (concluding that Hobbs act conspiracy
   is not a crime of violence under the force clause, but it is a
   crime of violence under the residual clause); Hernandez v. United
   States, 2016 WL 7250676, at *3-5 (S.D. Cal. Nov. 7, 2016); and,
   United States v. Williams, 179 F.Supp.3d 141, 154-55 (D. Me.
   2016)); see also, United States v. Hill, 832 F.3d 135, 145 (2d Cir.
   2016).


                                i. Elements Clause


         To   determine   whether,       under   the   categorical   approach,
   conspiracy to commit Hobbs Act robbery constitutes a crime of
   violence, under the elements clause, pursuant to §924(C)(3)(A),
   cases published since Johnson, as cited by the Eleventh Circuit, in
   Pinder, indicates that it does not. See In re Pinder, 824 F.3d 977,
   979 (11 Cir. 2016)(citing United States v. Vivas–Ceja, 808 F.3d
   719, 723 (7th Cir. 2015) and Dimaya v. Lynch, 803 F.3d 1110, 1120
   (9th Cir.    2015)).   See    also,   United States    v.   Edmundson,   153
   F.Supp.3d 857, 864, 2015 WL 9311983, at *6 (D. Md. 2015), as


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   amended (Dec. 30, 2015)(holding that ?the elements of neither
   conspiracy offense require the defendant to commit an overt act in
   furtherance of the conspiracy. Accordingly, ... conspiracy to
   commit Hobbs Act robbery does not have as an element, the use,
   attempted use, or threatened use of physical force of physical
   force against the person or property of another, and therefore does
   not fall within the §924© force clause.”); see also, United States
   v. Luong, 2016 WL 1588495, at *3 (E.D. Cal., Apr. 20, 2016)(relying
   on Ninth Circuit precedent to determine that ?conspiracy to commit
   Hobbs Act robbery does not have as an element the use or attempted
   use of physical force and is not a crime of violence under the
   force clause.”).


         When considering the least culpable way of committing a Hobbs
   Act robbery conspiracy, the Eleventh Circuit has suggested that
   such a conviction is unlawful where the defendant did no more than
   agree and plan to commit the robbery, but did not commit an overt
   act in furtherance thereof. See United States v. Pistone, 177 F.3d
   at 959. Consequently, it appears that a defendant cannot be found
   guilty of a Hobbs Act robbery conspiracy without the use, attempted
   use, or threatened use of violent, physical force. Therefore, as
   suggested      by   the   cases   referenced   above,   Hobbs   Act   robbery
   conspiracy is categorically overly broad and does not constitute a
   ?crime    of   violence,”    pursuant    to   §924(c)(3)(A),    the   elements
   clause.


         Pre-DiMaya courts in this district have also held that Hobbs
   Act robbery conspiracy no longer qualifies as a crime of violence
   under §924(c)'s elements clause. See e.g., Mann v. United States,
   U.S.D.C., S.D. of Fla., Case No. 16-22605-Civ-Ungaro (March 16,
   2017)(Cv-DE#22) (finding Hobbs Act robbery conspiracy is not a
   crime of violence under §924(c)'s elements clause); Jardines v.


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   United States, U.S.D.C., S.D. of Fla., Case No. 16-22604-Civ-Ungaro
   (March 3, 2016)(same); Duhart v. United States, U.S.D.C., S.D. of
   Fla., Case No. 16-61499-Civ-Marra (Sept. 9, 2016)(holding Hobbs Act
   robbery conspiracy does not qualify as a crime of violence under
   the elements clause because there is ?neither a requirement that
   the   defendant    engage   in   an    overt   act    in    furtherance    of    the
   conspiracy,” nor that a defendant was ?even capable of committing”
   the underlying offense). Further, in movant's coconspirator's case,
   the   government    withdrew     its    argument     that   Hobbs    Act   robbery
   conspiracy was a crime of violence under §924(c)'s force/elements
   clause. See United States v. Jenkins, U.S.D.C. S.D. of Fla., Case
   No. 13-20334-Cr-Altonaga (Cr-DE#185) (Nov. 9, 2016).


                           ii. Risk-of-Force Clause


         If, as determined above, the Hobbs Act robbery conspiracy is
   not a crime of violence under §924(c)'s elements clause, it still
   needs to be determined whether Hobbs Act robbery conspiracy remains
   a ?crime of violence” under §924(c)(3)(B)'s risk-of-force/residual
   clause. Suffice it to say that the courts are split on whether the
   reasoning in Johnson makes the residual clause of §924(c)(3)(B)
   unconstitutionally     vague.     If,    however,     the    court   finds      that
   §924(c)(3)(B) suffers from the same vagueness challenge to the ACCA
   residual clause, then movant's conspiracy to commit Hobbs Act
   robbery does not constitute a crime of violence, as that term is
   defined in §924(c)(3)(B).


         Neither the Eleventh Circuit nor the Supreme Court have
   explicitly ruled on the issue. Some district courts in this and
   other circuits have found §924(c)(3)(B) unconstitutionally vague.
   See Duhart v. United States, 2016 WL 4720424 (S.D. Fla. Sept. 9,
   2016); Horne v. United States, 2018 WL 1378976, at *4 (S.D. Ind.


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   Mar. 19, 2018) (§924(c)(3)(B) unconstitutionally vague).


         However, there appears to be no clear consensus and, in fact,
   a split amongst the courts is emerging on whether §924(c)(3)(B) is
   constitutionally vague in light of Johnson. For example, the
   Second, Sixth, and Eighth Circuit Court of Appeals have rejected
   the arguments, finding post-Johnson that a Hobbs Act robbery
   conspiracy is not unconstitutionally vague under §924(c)(3)(B).
   See United States v. Hill, 823 F.3d 135 (2d Cir. 2016); United
   States v. Taylor, 814 F.3d 340 (6th Cir. 2016);18 and, United States
   v. Prickett, 839 F.3d 697 (8th Cir. 2016). Other courts, however,
   have found that §924(c)(3)(B) is no longer valid post-Johnson,
   because it too is unconstitutionally vague. See Vasquez v. United
   States, S.D. of Fla., Case No. 16-14247-Civ-Martinez (S.D. Fla.
   2017); Duhart v. United States, 2016 WL 4720424 (S.D. Fla. 2016);
   Hernandez v. United States, S.D. of Fla., Case No. 16-cv-22657-PCH
   (S.D. Fla. 2016); United States v. Bell, 158 F. Supp.3d (N.D. Cal.
   2016); United States v. Lattanaphom, 159 F.Supp.3d 1157 (E.D. Cal.
   2016); and, United States v. Edmundson, 153 F.Supp.3d 857 (D. MD.
   2015).


         A comparison of the language of the ACCA residual clause with
   §924(c)(3)(B)'s residual clause reveals that §924(c)(3)(B) suffers
   from the same defects as the ACCA's residual clause, requiring
   judges to assess the risk of injury associated with a defendant's
   prior convictions using a categorical approach, and then weigh the
   danger posed by those idealized offenses against the serious
   potential risk” standard. See Johnson v. United States, ___ U.S. at
   ___, 135 S.Ct. 2557.


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          In Shuti v. Lynch, 828 F.3d 440, 450 (6 Cir. 2016), the Sixth Circuit
   found §16(b) unconstitutionally vague, but upheld the constitutionality of
   §924(c)(3)(B).

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         The government postures that the two clauses are contextually
   different, thus permitting a more reliable risk determination than
   the   ACCA.    While     there    are     some   contextual   differences,    the
   fundamental problem in applying the objective, ordinary case test
   to a risk-based measure remains. Like the ACCA, §924(c)(3)(B)
   requires courts to (1) imagine what kind of conduct the “ordinary
   case” involves, rather than analyzing actual facts or statutory
   elements; and, (2) to then ascertain whether there exists, in the
   imagined case, a “substantial risk” that physical force will be
   used.   See    Benitez    v.     United    States,   13-CR-20606-UU,   2017   WL
   2271504, at *2–3 (S.D. Fla. Apr. 6, 2017). As noted previously,
   under §924(c)(3)(B), ?crime of violence” includes offenses ?that by
   its nature, involves a substantial risk that physical force against
   the person or property of another may be used in the course of
   committing the offense.” In DiMaya, the Supreme Court made clear
   that §16(b)'s      definition, like the ACCA's residual clause were
   void for vagueness, rejecting the government's argument there that
   any assessment of risk is more reliable under §16(b). See DiMaya v.
   Sessions, ___ U.S. at ____, 138 S.Ct. at 1221 (the ?variance in
   wording cannot make ACCA's residual clause vague and §16(b)'s
   not.”). In fact, in rejecting many of the government's arguments,
   which are again repeated here, the DiMaya court stated:


                 As described earlier, Johnson found residual
                 clause's vagueness to reside in just 'two' of
                 its features: the ordinary-case requirement
                 and a fuzzy risk standard. See 576 U.S. at
                 ____, 135 S.Ct. at 2557-2558; supra, at 1213-
                 1214. Strip away the enumerated crimes–as
                 Congress did in §16(b)–and those dual flaws
                 yet   remain.    And   ditto    the   textual
                 indeterminacy that flows from them.


   Sessions v. DiMaya, ____ U.S. at ____, 138 S.Ct. at 1221. With
   these principles in mind, the §924(c)(3)(B)'s residual clause fares

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   no better. As the Supreme Court has instructed in the context of
   §924(e) in Johnson and in the §16(b) context in DiMaya, ?none of
   the minor linguistic disparities in the statutes makes any real
   difference,” because §924(C)(3)(B)'s residual clause also ?produces
   more unpredictability and arbitrariness than the Due Process Clause
   tolerates.” Sessions v. DiMaya, ___ U.S. at ____, 138 S.Ct. at 2259
   (quoting Johnson, ___ U.S. at ____, 135 S.Ct. at 2558). See also
   United States v. Salas, 889 F.3d 681, 685 (10 Cir. 2018) (Finding
   §924(c)(3)(B)    void   for   vagueness,    noting   that   ?[U]ltimately
   §924(c)(3)(B) possesses the same features as the ACCA's residual
   clause and §16(b) that combine to produce 'more unpredictability
   and arbitrariness than the Due Process tolerates....' and DiMaya's
   reasoning     for     invaliding     §16(b)     applies      equally     to
   §924(c)(3)(B).”).


         Therefore, for all of the foregoing reasons, the movant motion
   should be granted, and his conviction and resultant sentence as to
   Count 5, for using and carrying a firearm and possessing a firearm
   in furtherance of a crime of violence, as charged in Count 1, the
   Hobbs Act robbery conspiracy, should be vacated. Finally, as noted
   in relation to his challenge under §922(g), as will be demonstrated
   below, this §2255 motion is due to be granted because the movant's
   §3559© enhancement also cannot stand.


                   C. Challenge to the §3559© Enhancement


         In claim 1, movant asserts that he was denied effective
   assistance of counsel, where his lawyer failed to object to the
   fact that the movant did not qualify for an enhanced sentence,
   pursuant to 18 U.S.C. §3559©. (Cv-DE#1:4; Cv-DE#4:3-5,8-9). In his
   amendments (Cv-DE#s20,21), movant argues that Johnson extends to
   §3559© and invalidates the statute's residual clause. (Id.). Movant

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   also argues, his present convictions as to Counts 1 and 5 are not
   ?serious violent felonies,” and he does not have the required two
   or more prior qualifying convictions under the statute's elements
   or enumerated offenses clause. (Id.). In related claim 4, movant
   argues maintains that post-Johnson his enhancement as to Count 5,
   and his conviction as to Count 1 are no longer lawful, because
   §3559© suffers from the same fatal defect as the residual clauses
   found unconstitutionally vague in Johnson and DiMaya. (Cv-DE#11:7;
   (Cv-DE#20:2; Cv-DE#21; Cv-DE#23:15).


                         i. Law Re 18 U.S.C. §3559©


         The Federal Three Strikes Act, 18 U.S.C. 3559(c)(1), provides
   for a   mandatory    life   imprisonment   for   any   individual   who   is
   convicted of a ?serious violent felony” and who has previously been
   convicted of, inter alia, two or more ?serious violent felonies”:


              Mandatory life imprisonment.--Notwithstanding any
         other provision of law, a person who is convicted in a
         court of the United States of a serious violent felony
         shall be sentenced to life imprisonment if—

              (A) the person has been convicted (and those
         convictions have become final) on separate prior
         occasions in a court of the United States or of a State
         of—

               (i)   2 or more serious violent felonies; or

               (ii) one or more serious violent felonies and
               one or more serious drug offenses; and

              (B) each serious violent felony or serious drug
         offense used as a basis for sentencing under this
         subsection, other than the first, was committed after the
         defendant's conviction in the preceding serious violent
         felony or serious drug offense.



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   18 U.S.C. §3559(c)(1)(A),(B) (emphasis added).


         Under     the   Three     Strikes    Act,    the    term     “serious   violent
   felony,” as defined in 18 U.S.C. §3559(c)(2)(F), contains an
   enumerated offenses clause (§3559(c)(2)(F)(i)); an elements/use of
   force clause (first portion of §3559(c)(2)(F)(ii)); and, what can
   be   referred    to   as   a    residual    clause       (the    latter   portion   of
   §3559(c)(2)(F)(ii)).           Subsection       (i),   the      enumerated    offenses
   clause, lists specific qualifying offenses, which include murder,
   manslaughter, certain sexual offenses, aircraft piracy, robbery,
   carjacking, arson, and certain firearms charges. See 18 U.S.C.
   §3559(c)(2)(F)(i).


         In subsection (ii), Congress defined ?serious violent felony”
   to include:


         any other offense punishable by a maximum term of
         imprisonment of 10 years or more that has as an element
         the use, attempted use, or threatened use of physical
         force against the person of another or that, by its
         nature, involves a substantial risk that physical force
         against the person of another may be used in the course
         of committing the offense.


   18 U.S.C. §3559(c)(2)(F)(ii). The italicized elements/use-of-force
   clause above is identical to those of the Armed Career Criminal Act
   (?ACCA”), 18 U.S.C. §924(e)(2)(B)(i), and the career offender
   guidelines, U.S.S.G. §4B1.2(a)(1). The Three Strikes Act is only
   distinguishable or otherwise differs in that it is preceded by
   language requiring that the prior offense be punishable by a
   maximum term of 10 years or more of imprisonment. It is also
   evident that the underlined residual clause of §3559(c)(2)(F)(ii)
   is virtually indistinguishable from the language contained in 18


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   U.S.C. §924(c)(3)(B) and 18 U.S.C. §16(b). The only difference
   between the two being that §3559© does not include physical force
   against the property of another.


         The   three   strikes   statute    further   defines   ?nonqualifying
   felonies,” under §3559(c)(3), to include:


         (A) Robbery in certain cases.–Robbery, an attempt,
         conspiracy, or solicitation to commit robbery; or an
         offense described in paragraph (2)(F)(ii) shall not serve
         as a basis for sentencing under this subsection if the
         defendant establishes by clear and convincing evidence
         that—

              (i)    no firearm or other dangerous weapon was used
         in the offense and no threat of use of a firearm or other
         dangerous weapon was involved in the offense; and

               (ii) the offense did not result in death                 or
               serious bodily injury ... to any person.

         (B) Arson in certain cases.–Arson shall not serve as a
         basis for sentencing under this subsection if the
         defendant establishes by clear and convincing evidence
         that--

               (i)     the offense poses no threat to human life;
               and

              (ii) the defendant reasonably believed the offense
         posed no threat to human life.


   18 U.S.C. §3559(c)(3)(A)-(B).


         “Section 3559(c)(1) places the burden on the government to
   demonstrate that a defendant was convicted of at least two prior
   offenses    that    qualify   as   ‘serious   violent    felonies'        under
   §3559(c)(2)(F).” See e.g., United States v. Kaluna, 192 F.3d 1188,
   1193–94 (9th Cir. 1999). If a defendant asserts that a prior
   offense is a “nonqualifying felony” under §3559(c)(3)(A), the

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   burden shifts to the defendant to prove this affirmative defense by
   clear and convincing evidence. United States v. Kaluna, 192 F.3d at
   1196. However, past offenses need not fulfill the requirements of
   both   subsection   (i)    and    (ii)   to   count   as   “serious     violent
   felonies.” United States v. Rosario–Delgado, 198 F.3d 1354, 1356–57
   (11th Cir.1999).


          Thus, courts to have considered the issue have consistently
   determined that the affirmative defense provision of §3559© affords
   a defendant an avenue by which to challenge the status of a prior
   conviction that is a serious violent felony, which would otherwise
   constitute a strike, requiring him to prove by the heightened
   standard    of   clear    and    convincing    evidence    that   his     prior
   convictions were nonqualifying felonies. United States v. Bradshaw,
   281 F.3d 278 (1 Cir. 2002), cert. denied, 537 U.S. 1049 (2002);
   United States v. Brown, 276 F.3d 930 (7 Cir. 2002); United States
   v. Gray, 260 F.3d 1267 (11 Cir. 2001)(the three strikes statute
   contains a disqualification provision, or an affirmative defense,
   that provides a defendant with the opportunity to prove that an
   otherwise qualifying conviction does not constitute a “strike”
   under the statute); United States v. Kaluna, 192 F.3d 1188, 1193-94
   (9 Cir. 1999)(stating that if a defendant asserts that a prior
   offense is a “nonqualifying felony” under §3559(c)(3)(A), the
   burden shifts to the defendant to prove this affirmative defense by
   clear and convincing evidence); United States v. Romero, 122 F.3d
   1334, 1342 (10 Cir. 1997)(even if a crime meets the definition of
   a serious violent felony, the crime does not necessarily constitute
   a “strike” against the defendant if the defendant establishes, by
   clear and convincing evidence, that: (i) no firearm or other
   dangerous weapon was used in the offense and no threat of use of a
   firearm or other dangerous weapon was involved in the offense; and
   (ii) the offense did not result in death or serious bodily injury


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   to any person).


                                    ii. Analysis


         With the foregoing principles in mind, in its §3559© notice,
   the government argued that, if the movant was convicted of either
   of the offenses alleged in Counts 1 or 5 of the Indictment, both of
   which it argues qualify as ?serious violent felonies,” as that term
   is defined in 18 U.S.C. §3559©, the movant would be subject to a
   term of life imprisonment, having been previously convicted of the
   following qualifying predicate offenses:


               1.     February 23, 2016 conviction, entered in
                      Miami-Dade County, Circuit Court, Case
                      No. F95-21499, for armed robbery, in
                      violation          of     Fla.Stat.
                      §812.13(2)(a),(b); §784.045(1)(b);

               2.     March 25, 2010 conviction, entered in
                      Miami-Dade County, Circuit Court, Case
                      No. F06-28846A, for burglary of an
                      unoccupied structure, in violation of
                      Fla.Stat. §810.02(4)(A) and §775.084(4);

               3.     June 12, 2012 conviction, entered in
                      Miami-Dade County, Circuit Court, Case
                      No. F12-6583, for fleeing and eluding,
                      in violation of Fla.Stat. §316.1935(2);
                      and,


   (Cr-DE#28:1-2).


         Following a jury verdict, movant was found guilty as charged,
   as to Counts 1 and 5 of the Indictment. Thus, it first needs to be
   determined    whether   either    one    of   the   offenses   of   conviction
   constitute ?serious violent felonies” for purposes of §3559©.
   Neither the Eleventh Circuit, nor the Supreme Court has explicitly


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   found that either constitute serious violent felonies post-Johnson
   and DiMaya.


         However, that does not end the inquiry. If, the movant's
   conviction cannot stand under §3559(c)'s residual clause, it is
   nonetheless due to be affirmed if it qualifies as a ?crime of
   violence” under the force clause in §3559©. The force clause of
   §3559© requires that the offense ?has as an element the use,
   attempted use, or threatened use of physical force against the
   person of another.” As will be recalled, the jury found the movant
   guilty of violating §924©, based on the predicate conspiracy to
   commit Hobbs Act robbery, in violation of 18 U.S.C. §1951(a), as
   charged in Count 1 of the Indictment. (Cr-DE#79).


         a.    Conspiracy to Commit Hobbs Act Robbery. The movant argues
   that his conviction as to Count 1, for conspiracy to commit Hobbs
   Act robbery, is not a qualifying serious violent felony conviction
   for purposes of the §3559© enhancement. (Cv-DE#s20-21). For the
   reasons    previously    stated   in    this   Report,    it     remains   the
   recommendation that the Hobbs Act robbery conspiracy is not a
   serious violent felony. Even assuming, without deciding that it is,
   the movant does not have the required predicate offenses to support
   the §3559© enhancement as to Count 1, as will be demonstrated
   below, and as previously discussed in this Report.


         b.    Movant's Section 924(c) Conviction. Further, not to be
   belabor the issue here, but for the reasons previously stated
   herein, movant's §924© conviction, predicated on a Hobbs Act
   robbery conspiracy, is also unlawful. Likewise, even if the court
   finds that Counts 1 or 5 of the Indictment were lawful, the movant
   still does not have the required two predicate convictions that
   constitute    a   ?serious   violent    felony”   to   support    the   §3559©

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   enhancement.


         According to the government, the movant's prior predicate
   convictions    for   armed   robbery    and   burglary   of   an   unoccupied
   structure, as enumerated in paragraphs 1 and 2, above, constitute
   ?serious   violent    felonies”   under       §3559(c)(2)(F)(ii),     because
   Florida law punishes each violation for a term exceeding 10 years
   imprisonment, involved the prospect of substantial risk of harm,
   and as to the armed robbery, it is specifically an enumerated
   offense. (Cv-DE#7:7; Cv-DE#14:12; Cv-DE#22:9).


         However, post-Johnson, courts have made clear that a Florida
   burglary conviction is not a ?violent felony” and thus not a proper
   qualifying predicate, taking the definition of ?burglary” outside
   the generic definition for the offense. See Mathis v. United
   States, ___ U.S. ___, ___, 136 S. Ct. 2243, 2248 (2016); see also
   James v. United States, 550 U.S. 192, 212, 127 S. Ct. 1586, 1599,
   167 L. Ed. 2d 532 (2007) overruled on other grounds by Johnson v.
   United States, 135 S. Ct. 2551, 192 L. Ed. 2d 569 (2015)(“We agree
   that the inclusion of curtilage takes Florida's underlying offense
   of burglary outside the definition of ‘generic burglary’...”);
   United States v. Oscar, 877 F.3d 1270, 1293 (11th Cir. 2017);
   United States v. Garcia–Martinez, 845 F.3d 1126 (11th Cir. 2017);
   and, United States v. Espirit, 841 F.3d 1235 (11th Cir. 2016).


         Review of the PSI also reveals that movant's prior fleeing and
   eluding convictions cannot support the §3559© enhancement. Post-
   Johnson, the Eleventh Circuit has held that Florida's fleeing and
   eluding statute no longer qualifies as a ?violent felony” under the
   ACCA, because it does not have “as an element the use, attempted
   use, or threatened use of physical force against the person of
   another,” is not “burglary, arson, or extortion,” and does not


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   involve the “use of explosives.” See United States v. Garner, 644
   Fed.Appx. 880, 881 (11th Cir. 2016), cert. den'd, 137 S. Ct. 1326
   (2017)(citing 18 U.S.C. § 924(e)(2)(B)(i)-(ii); Sykes v. United
   States, 564 U.S. 1, 131 S.Ct. 2267, 2273, 180 L.Ed.2d 60 (2011),
   overruled on other grounds by Johnson, 135 S.Ct. at 2551; and,
   Petite, 703 F.3d at 1293).


         Therefore, the only remaining proper qualifying predicate
   offense appears to be the movant's prior armed robbery conviction,
   entered in Case No. F95-21499, in violation of Florida law. The
   Eleventh Circuit has held that a prior Florida robbery conviction
   continues to categorically qualify as a violent felony under the
   elements clause of the Armed Career Criminal Act. See United States
   v. Fritts, 841 F.3d 937, 939–42 (11th Cir. 2016); United States v.
   Seabrooks, 839 F.3d 1326, 1338–45 (11th Cir. 2016). Since the
   movant only    has   the   one   qualifying   predicate   to   support   the
   enhancement under §3559©, his sentences as to Counts 1 and 5 must
   be vacated as they are no longer valid post-Johnson. Therefore,
   this §2255 motion is due to be granted to the extent that the
   sentence imposed as to Count 1, 2 and 5 must be vacated, because
   they are no longer lawful post-Johnson.


         Under the totality of the circumstances present here, movant
   has shown deficiency and prejudice arising from counsel's failure
   to raise the issues prior to trial and/or at sentencing, and then
   on appeal. See Strickland, supra. Even if the state of the law at
   the time was in flux, alternatively the movant has shown cause and
   prejudice to overcome the procedural default of the arguments
   raised in this §2255 proceeding.


                              D. Remaining Claims



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                       1. Challenge to Jury Instructions


         In claim 2, the movant asserts that he was denied effective
   assistance of counsel, where his lawyer failed to request a special
   jury instruction and corresponding verdict form requiring that the
   jury determine the amount of drugs the movant actually possessed or
   distributed.      (Cv-DE#1:5;    Cv-DE#4:6).      Movant    suggests     it   was
   counsel's obligation to ensure that a special verdict form was
   submitted to the jury asking them to ?fill in the type and amount
   of drugs” that the movant possessed or distributed. (Cv-DE#4:6).
   Movant maintains that had the request been made, the court would
   have incorporated such a request into its instructions to the jury,
   who, in turn, would have found that the movant was only responsible
   for four (4) kilograms of cocaine. (Id.). According to the movant,
   the undercover officer agreed to keep seven (7) kilograms, and that
   it was reasonable to infer that the remaining eight (8) kilograms
   would be split evenly between the movant and his coconspirator,
   resulting   in the       movant being       accountable   for   only   four (4)
   kilograms. (Id.:7).


         As will be recalled, in Count 2 of the Indictment, the movant
   was charged with conspiracy to possess with intent to distribute
   five kilograms or more of cocaine, in violation of 21 U.S.C.
   §841(a)(1), §841(b)(1)(A)(ii), and §846. (Cr-DE#12). Contrary to
   the representations made herein, the jury was, in fact, provided
   with a special verdict form. (Cr-DE#80). Regarding Count 2, the
   verdict form provided the following:


         2.   We, the Jury, unanimously find the Defendant, JOSEPH
         PETER CLARKE, as to Count 2 of the Indictment:

                                   GUILTY            NOT GUILTY

               (a)     If   you   find   the     Defendant not     guilty   as

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         charged in Count 2, please skip to paragraph 3. However,
         if you find the Defendant guilty as to Count 2, please
         see proceed to paragraph (b) below.

              (b)   We, the Jury, having found the Defendant
         guilty of the offense charged in Count 2, further find
         with respect to that Count that he conspired to possess
         with intent to distribute [the] following controlled
         substance in the amount shown (place an X in the
         appropriate box):


                    (i)     5 kilograms or more of cocaine        [   ]
                    (ii)   Between 500 and 5 kilograms of         [   ]
                    cocaine
                    (iii)    Less than 500 grams of cocaine       [   ]


   (Cr-DE#80:2).


         The jury was instructed that Count 2 charged the movant with
   conspiracy ?to possess with intent to distribute cocaine.” (Cr-
   DE#79:2). The court further instructed:


              As to Count 2, it is a federal crime for anyone to
         conspire to knowingly possess with intent to distribute
         or import cocaine. Title 21 United States Code Section
         841(a)(1) make it a crime for anyone to knowingly possess
         cocaine with intent to distribute it.

              My previous instruction regarding conspiracy apply
         equally to Count 2 and are not repeated here.

              The Defendant can be found guilty only if all the
         following facts are proved beyond a reasonable doubt:

               1)     two or more people in some way agreed to try
                      to accomplish a shared and unlawful plan to
                      possess or import cocaine; and

               2)     the Defendant knew the unlawful purpose of
                      the plan and willfully joined in it; and


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               3)     the object of the unlawful plan was to
                      possess with the intent to distribute more
                      than five kilograms of cocaine.

   (Cr-DE#79:5).


         As argued correctly by the government, and as reflected above,
   the verdict form and instructions were proper as it relates to
   Count 2 of the Indictment. Movant is mistaken in his representation
   that the jury was never asked to make a determination of the
   quantity and type of drugs. (Cv-DE#10). Regarding the type of
   drugs, it was, in fact, charged in the indictment as cocaine. The
   instruction clearly set forth that the subject was cocaine, and the
   verdict form left it to the jury to decide, based on the evidence
   presented to it, whether the amount involved was at a minimum, less
   than 500 grams, or at a maximum, it involved 5 kilograms or more.
   The jury returned its verdict, finding the movant guilty of a
   conspiracy involving 5 kilograms or more of cocaine. (Cr-DE#80).
   Consequently, movant has not demonstrated here that counsel was
   deficient or that he suffered prejudiced under Strickland arising
   from counsel's failure to pursue this issue either at trial or on
   appeal. Relief is not warranted on this claim that is clearly
   refuted by the record.


        2. Failure to Object to Specific Offense Characteristics


         Movant commingles in relation to claim 2 that counsel failed
   to object to paragraph 21 of the PSI, which added two levels to the
   base offense level based because the movant used violence, made a
   credible threat to use violence, or directed the use of violence,
   pursuant to U.S.S.G. §2D1.1(b)(2). (PSI ¶21).


         The PSI and the evidence at trial, as narrated previously in

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   this report, reveal that on April 24, 2013, the movant and his
   coconspirator, Bobby Jenkins met with the undercover officer and
   the confidential informant, at which time they indicated that they
   were ready to commit the robbery as proposed by the undercover
   officer.   (PSI   ¶8).   During   that    meeting,   a   discussion    arose
   regarding the possibility of a confrontation ensuing within the
   stash once the movant and his coconspirator entered to rob the
   occupants of the drugs contained therein. (Id.). The movant stated,
   ?when I pull that trigger, I'm dropping your ass and that's the end
   of it.” (PSI ¶9). In fact, the facts, as summarized on appeal,
   revealed that the movant had made the suggestion to ?kill” the
   occupants of the drug stash house ?so that no one would know
   Detective Veloz was associated with them.” See United States v.
   Clarke, 649 Fed.Appx. 837, 840-41 (11 Cir. 2016); (Cr-DE#156).
   Further, the movant indicated during that meeting that he would
   ?need to 'hit' Detective Veloz to make it look like Detective Veloz
   was not involved.” See United States v. Clarke, supra.


         Given the foregoing, movant has not demonstrated here that,
   even if counsel had objected to the initial 2-level enhancement, as
   contained in the PSI, pursuant to U.S.S.G. §2D1.1(b)(2), that the
   objection would have been sustained. There was sufficient evidence
   adduced at trial, and as contained in the PSI, to support the
   finding that the movant made a credible threat to use violence.
   Regardless, the 2-level enhancement did not affect his guideline
   exposure which     was   triggered   by   the   §3559©   and   armed   career
   criminal enhancements. Therefore, he cannot demonstrate deficiency
   or prejudice under Strickland arising from counsel's failure to
   pursue this nonmeritorious issue either at sentencing or on appeal.



                     IX.    Certificate of Appealability


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          A prisoner seeking to appeal a district court's final order
   denying his petition for writ of habeas corpus has no absolute
   entitlement     to    appeal,    but     must    obtain      a     certificate         of
   appealability (?COA”). See 28 U.S.C. §2253(c)(1); Harbison v. Bell,
   556 U.S. 180, 129 S.Ct. 1481 (2009). This Court should issue a
   certificate     of   appealability      only    if    the   petitioner      makes      ?a
   substantial showing of the denial of a constitutional right.” See
   28 U.S.C. §2253(c)(2). Where a district court has rejected a
   petitioner's constitutional claims on the merits, the petitioner
   must demonstrate that reasonable jurists would find the district
   court's assessment of the constitutional claims debatable or wrong.
   See Slack v. McDaniel, 529 U.S. 473, 484 (2000). However, when the
   district court has rejected a claim on procedural grounds, the
   petitioner    must    show   that   ?jurists         of   reason   would    find       it
   debatable whether the petition states a valid claim of the denial
   of a constitutional right and that jurists of reason would find it
   debatable whether the district court was correct in its procedural
   ruling.” Id. Upon consideration of the record as a whole, this
   Court should deny a certificate of appealability. Notwithstanding,
   if petitioner does not agree, he may bring this argument to the
   attention of the district judge in objections.


                                   X. Conclusion


          Based on the foregoing, it is recommended that the movant's
   motion be     GRANTED;   the    underlying      judgment      be   vacated       and    a
   resentencing hearing be held consistent with the findings contained
   herein.


          Objections to this report may be filed with the District Judge
   within fourteen days of receipt of a copy of the report. Failure to
   file   timely    objections     shall    bar    plaintiff        from   a   de    novo

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   determination by the district judge of an issue covered in this
   report and shall bar the parties from attacking on appeal factual
   findings accepted or adopted by the district judge except upon
   grounds of    plain   error or    manifest   injustice.   See   28   U.S.C.
   §636(b)(1); Thomas v. Arn, 474 U.S. 140, 149 (1985); Henley v.
   Johnson, 885 F.2d 790,794 (1989); LoConte v. Dugger, 847 F.2d 745
   (11th Cir. 1988); RTC v. Hallmark Builders, Inc., 996 F.2d 1144,
   1149 (11th Cir. 1993).


         Signed this 31st day of July, 2018.




                                 UNITED STATES MAGISTRATE JUDGE


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